    Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 1 of 96



Anchor Drilling Fluids USA, LLC

                       Southern                 Texas

           6:20-bk-60030




                                                                                                                  04/16




                                  01/01/2020                  X        Operating a business through    51,492,033.55
                                                                       04/30/2020


                                  01/01/2019   12/31/2019     X
                                                                                                      223,118,693.55


                                                              X
                                  01/01/2018   12/31/2018
                                                                                                      313,170,485.98




                                                            Interest Income                                      0.00
                                  01/01/2020



                                  01/01/2019   12/31/2019
                                                            Interest Income                                 26,409.51




                                  01/01/2018   12/31/2018
                                                            Interest Income                                      0.00
              Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 2 of 96

          Anchor Drilling Fluids USA, LLC                        6:20-bk-60030




                                                                  $6,425.
             4/01/19




     See Attached Rider




$6,425.                                     4/01/19




     See Attached Rider
            Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 3 of 96

       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




X




X




    See Attached Rider
             Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 4 of 96

        Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




X




    See Attached Rider




     See Attached Rider
            Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 5 of 96

       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




    See Attached Rider




X
            Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 6 of 96


       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




X




    See Attached Rider
         Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 7 of 96


    Anchor Drilling Fluids USA, LLC                            6:20-bk-60030




X




X




    X




            Q'Max America, Inc 401(K) Plan                 9     8     0   5   4   2   3   1   9



        X
            Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 8 of 96


       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




    See Attached Rider




X




    See Attached Rider
            Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 9 of 96


       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




X




X




X




    See Attached Rider
          Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 10 of 96


       Anchor Drilling Fluids USA, LLC                        6:20-bk-60030




X




    See Attached Rider
      Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 11 of 96


   Anchor Drilling Fluids USA, LLC                        6:20-bk-60030




See Attached Rider




   See Attached Rider




    See Attached Rider
           Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 12 of 96


       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




         See Attached Rider




X




    See Attached Rider
           Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 13 of 96


       Anchor Drilling Fluids USA, LLC                         6:20-bk-60030




    See Attached Rider




X




    See Attached Rider




X




    Please refer to Statement question 4
          Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 14 of 96


       Anchor Drilling Fluids USA, LLC                        6:20-bk-60030




X




    Q’Max America, Inc.                                 XX-XXXXXXX




X
             Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 15 of 96

         Anchor Drilling Fluids USA, LLC                                                        6:20-bk-60030




WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.


                    06/08/2020




      /s/ Eric Glover                                                          Eric Glover



                                  Chief Financial Officer




  X




                                                                                                                                   Page 15
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 16 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
825 SPECIALTY SERVICES
92 EVERGLADE CIRCLE S.W.
CALGARY, AB T2Y 4N3
CANADA                                      165114                 04/03/2020              Suppliers or vendors                        $16,118.77
                                                                                                          SUBTOTAL                     $16,118.77

995 PARTNERS, LLC
PO BOX 323                                  V000010, 3/6/2020,
BRIGHTON, CO 80601                          ACHUSD                 03/06/2020              Suppliers or vendors                        $12,720.79
                                                                                                          SUBTOTAL                     $12,720.79

ABILENE RENTAL CENTER, LLC
1357 S TREADAWAY BLVD                       V000026, 3/6/2020,
ABILENE, TX 79602                           ACHUSD                 03/06/2020              Suppliers or vendors                        $41,099.34
                                            V000026, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $17,637.84
                                            V000026, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $44,094.60
                                            V000026, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $86,782.59
                                            V000026, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $79,380.54
                                                                                                          SUBTOTAL                    $268,994.91

ACCOUNTABLE HIRE
9550 SPRING GREEN BLVD.                     V000029, 3/6/2020,
KATY, TX 77494                              ACHUSD                 03/06/2020              Suppliers or vendors                        $15,457.88
                                            V000029, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $13,644.00
                                            V000029, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $16,412.00
                                            V000029, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,012.00
                                            V000029, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $7,934.00
                                                                                                          SUBTOTAL                     $60,459.88

ACME TRUCK LINE, INC
MSC - 410683
PO BOX 415000
NASHVILLE, TN 37241                         165230                 04/24/2020              Suppliers or vendors                        $16,181.44
                                                                                                          SUBTOTAL                     $16,181.44




                                                                    Page 1 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 17 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ADDISON GROUP
7076 SOLUTIONS CENTER                       V000039, 3/6/2020,
CHICAGO, IL 60677                           ACHUSD                 03/06/2020              Suppliers or vendors                        $12,665.50
                                            V000039, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $13,380.50
                                            V000039, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $12,164.50
                                            V000039, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $4,804.00
                                            V000039, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $7,832.00
                                                                                                          SUBTOTAL                     $50,846.50

ADLER TANK RENTALS
PO BOX 45081
SAN FRANCISCO, CA 94145                     165231                 04/24/2020              Suppliers or vendors                         $8,089.20
                                                                                                          SUBTOTAL                      $8,089.20

ADP LLC
PO BOX 842875                                                                              Other - Payroll and
BOSTON, MA 02284                            02/26/2020 ACH         02/26/2020              Benefits                                     $1,012.71
                                            02/26/2020 Wire                                Other - Payroll and
                                            Transfer               02/26/2020              Benefits                                   $787,197.96
                                                                                           Other - Payroll and
                                            02/27/2020 ACH         02/27/2020              Benefits                                    $17,575.93
                                            WT                                             Other - Payroll and
                                            2020022700002530       02/27/2020              Benefits                                   $320,025.08
                                                                                           Other - Payroll and
                                            02/28/2020 ACH         02/28/2020              Benefits                                       $58.94
                                                                                           Other - Payroll and
                                            03/03/2020 ACH         03/03/2020              Benefits                                   $125,155.71
                                            WT                                             Other - Payroll and
                                            2020030300002490       03/03/2020              Benefits                                     $8,489.29
                                                                                           Other - Payroll and
                                            03/05/2020 ACH         03/05/2020              Benefits                                     $2,154.21
                                                                                           Other - Payroll and
                                            03/06/2020 ACH         03/06/2020              Benefits                                     $3,323.85
                                            WT                                             Other - Payroll and
                                            2020031100002490       03/11/2020              Benefits                                   $803,006.52
                                                                                           Other - Payroll and
                                            03/12/2020 ACH         03/12/2020              Benefits                                    $14,500.02
                                            WT                                             Other - Payroll and
                                            2020031200002430       03/12/2020              Benefits                                   $325,002.28
                                                                                           Other - Payroll and
                                            03/13/2020 ACH         03/13/2020              Benefits                                       $19.64
                                            V000043, 3/13/2020,                            Other - Payroll and
                                            ACHUSD                 03/13/2020              Benefits                                     $1,032.90
                                                                                           Other - Payroll and
                                            03/17/2020 ACH         03/17/2020              Benefits                                   $124,774.52
                                                                                           Other - Payroll and
                                            03/20/2020 ACH         03/20/2020              Benefits                                     $3,094.83



                                                                    Page 2 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 18 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ADP LLC
PO BOX 842875                               WT                                             Other - Payroll and
BOSTON, MA 02284                            2020032000009110       03/20/2020              Benefits                                      $545.30
                                            WT                                             Other - Payroll and
                                            2020032000009350       03/20/2020              Benefits                                      $814.31
                                                                                           Other - Payroll and
                                            03/27/2020 ACH         03/27/2020              Benefits                                      $348.52
                                            WT                                             Other - Payroll and
                                            2020032700002680       03/27/2020              Benefits                                   $792,555.27
                                                                                           Other - Payroll and
                                            03/30/2020 ACH         03/30/2020              Benefits                                    $13,544.07
                                            WT                                             Other - Payroll and
                                            2020033000002650       03/30/2020              Benefits                                   $320,147.76
                                            WT                                             Other - Payroll and
                                            2020033000002670       03/30/2020              Benefits                                    $17,248.19
                                            WT                                             Other - Payroll and
                                            2020033000002760       03/30/2020              Benefits                                    $24,095.21
                                                                                           Other - Payroll and
                                            04/02/2020 ACH         04/02/2020              Benefits                                   $114,855.40
                                                                                           Other - Payroll and
                                            04/03/2020 ACH         04/03/2020              Benefits                                     $3,441.75
                                            WT                                             Other - Payroll and
                                            2020040300008850       04/03/2020              Benefits                                    $24,654.27
                                            WT                                             Other - Payroll and
                                            2020040600002280       04/06/2020              Benefits                                    $15,619.85
                                                                                           Other - Payroll and
                                            04/09/2020 ACH         04/09/2020              Benefits                                      $686.40
                                                                                           Other - Payroll and
                                            04/10/2020 ACH         04/10/2020              Benefits                                       $39.30
                                            WT                                             Other - Payroll and
                                            2020041300002080       04/13/2020              Benefits                                   $808,308.69
                                                                                           Other - Payroll and
                                            04/14/2020 ACH         04/14/2020              Benefits                                    $12,857.41
                                            WT                                             Other - Payroll and
                                            2020041400002140       04/14/2020              Benefits                                   $338,404.86
                                                                                           Other - Payroll and
                                            04/17/2020 ACH         04/17/2020              Benefits                                   $115,072.92
                                                                                           Other - Payroll and
                                            04/24/2020 ACH         04/24/2020              Benefits                                     $4,708.23
                                                                                           Other - Payroll and
                                            05/04/2020 ACH         05/04/2020              Benefits                                    $73,764.30
                                            WT                                             Other - Payroll and
                                            2020050500001990       05/05/2020              Benefits                                     $1,948.61
                                            WT                                             Other - Payroll and
                                            2020050500002140       05/05/2020              Benefits                                     $3,087.52
                                                                                           Other - Payroll and
                                            05/07/2020 ACH         05/07/2020              Benefits                                     $3,383.01
                                            WT                                             Other - Payroll and
                                            2020050700002240       05/07/2020              Benefits                                   $681,141.31
                                            WT                                             Other - Payroll and
                                            2020050700002800       05/07/2020              Benefits                                   $364,752.26


                                                                    Page 3 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 19 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ADP LLC
PO BOX 842875                               WT                                             Other - Payroll and
BOSTON, MA 02284                            2020050800002270       05/08/2020              Benefits                                     $18,904.31
                                            WT                                             Other - Payroll and
                                            2020050800002540       05/08/2020              Benefits                                     $35,445.16
                                                                                           Other - Payroll and
                                            05/14/2020 ACH         05/14/2020              Benefits                                      $8,449.30
                                            WT                                             Other - Payroll and
                                            2020051400002390       05/14/2020              Benefits                                    $207,196.20
                                            WT                                             Other - Payroll and
                                            2020051400007530       05/14/2020              Benefits                                    $511,746.06
                                                                                           Other - Payroll and
                                            05/15/2020 ACH         05/15/2020              Benefits                                      $1,591.63
                                            WT                                             Other - Payroll and
                                            2020051500010790       05/15/2020              Benefits                                      $9,074.75
                                            WT                                             Other - Payroll and
                                            2020051800002340       05/18/2020              Benefits                                      $5,279.38
                                                                                           Other - Payroll and
                                            05/19/2020 ACH         05/19/2020              Benefits                                     $35,588.51
                                                                                           Other - Payroll and
                                            05/21/2020 ACH         05/21/2020              Benefits                                        $309.88
                                                                                           Other - Payroll and
                                            WT 20142001196099 05/22/2020                   Benefits                                      $2,323.31
                                                                                           Other - Payroll and
                                            WT 20143001372280 05/22/2020                   Benefits                                      $8,193.38
                                                                                           Other - Payroll and
                                            WT 20143012940140 05/22/2020                   Benefits                                    $458,156.11
                                                                                           Other - Payroll and
                                            WT 20143012940672 05/22/2020                   Benefits                                    $910,930.00
                                                                                           Other - Payroll and
                                            WT 20143012959770 05/22/2020                   Benefits                                     $42,335.23
                                                                                                          SUBTOTAL                    $8,527,972.32

AGRI-EMPRESA, LLC
6001 WEST INDUSTRIAL                        V000061, 3/27/2020,
MIDLAND, TX 79706                           ACHUSD                 03/27/2020              Suppliers or vendors                        $104,090.91
                                            V000061, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $97,177.33
                                            V000061, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $93,550.60
                                            V000061, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $91,863.78
                                            V000061, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $73,304.62
                                            V000061, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $86,136.28
                                                                                                          SUBTOTAL                     $546,123.52




                                                                    Page 4 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 20 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ALLY CONSULTING LLC
PO BOX 17275                                V000093, 5/11/2020,
DENVER, CO 80217                            ACHUSD                 05/11/2020              Suppliers or vendors                        $22,887.18
                                                                                                          SUBTOTAL                     $22,887.18

AMERICAN COLLOID COMPANY, INC
PO BOX 955112                               V000102, 3/6/2020,
SAINT LOUIS, MO 63195                       ACHUSD                 03/06/2020              Suppliers or vendors                         $9,635.85
                                            V000102, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $11,426.09
                                            V000102, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                          $485.05
                                                                                                          SUBTOTAL                     $21,546.99

AMERICAN ELECTRIC POWER
PO BOX 371496
PITTSBURGH, PA 15250                        164878                 02/28/2020              Suppliers or vendors                          $500.30
                                            164919                 03/06/2020              Suppliers or vendors                         $1,870.43
                                            164944                 03/13/2020              Suppliers or vendors                         $4,012.02
                                            165116                 04/03/2020              Suppliers or vendors                         $2,107.75
                                            165272                 05/04/2020              Suppliers or vendors                         $5,400.61
                                                                                                          SUBTOTAL                     $13,891.11

AMERICAN GILSONITE CO
29950 SOUTH BONANZA HIGHWAY
BONANZA, UT 84008                           612                    03/06/2020              Suppliers or vendors                        $20,700.00
                                            687                    03/20/2020              Suppliers or vendors                        $20,700.00
                                            700                    03/27/2020              Suppliers or vendors                        $20,700.00
                                            732                    04/03/2020              Suppliers or vendors                        $20,700.00
                                            751                    04/10/2020              Suppliers or vendors                        $41,400.00
                                            770                    04/17/2020              Suppliers or vendors                        $20,700.00
                                            818                    05/01/2020              Suppliers or vendors                        $41,400.00
                                                                                                          SUBTOTAL                    $186,300.00




                                                                    Page 5 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 21 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
AMERICAN REFINING GROUP, INC
PO BOX 644811                               V000110, 3/6/2020,
PITTSBURGH, PA 15264                        ACHUSD                 03/06/2020              Suppliers or vendors                        $55,167.84
                                            V000110, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $79,215.83
                                            V000110, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                       $212,612.40
                                            V000110, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $95,650.80
                                            V000110, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $98,624.40
                                            V000110, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $32,806.20
                                            V000110, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $78,195.60
                                            V000110, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $76,582.04
                                            V000110, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $65,687.09
                                                                                                          SUBTOTAL                    $794,542.20

AMINO TRANSPORT, INC
PO BOX 54220
HURST, TX 76053                             164920                 03/06/2020              Suppliers or vendors                         $9,200.00
                                            164945                 03/13/2020              Suppliers or vendors                        $10,275.00
                                            164985                 03/20/2020              Suppliers or vendors                        $10,400.00
                                            V000113, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $10,150.00
                                            V000113, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $9,350.00
                                            V000113, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $10,450.00
                                            V000113, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $10,350.00
                                            V000113, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $10,950.00
                                            V000113, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $10,100.00
                                                                                                          SUBTOTAL                     $91,225.00

ARI
PO BOX 8500-4375                            V000133, 3/27/2020,
PHILADELPHIA, PA 19178                      ACHUSD                 03/27/2020              Suppliers or vendors                        $61,149.78
                                            V000133, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $46,642.74
                                                                                                          SUBTOTAL                    $107,792.52

ASHCRAFT, MICAHEL T.                                                                       Other - Employee
ADDRESS ON FILE                             165110                 03/30/2020              Payment                                     $13,359.42
                                                                                                          SUBTOTAL                     $13,359.42




                                                                    Page 6 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 22 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                             Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
AT&T MOBILITY
PO BOX 6463
CAROL STREAM, IL 60197                      164991                 03/20/2020              Services                                     $3,777.20
                                            165160                 04/10/2020              Services                                     $3,153.46
                                                                                                          SUBTOTAL                      $6,930.66

AT&T
PO BOX 105414
ATLANTA, GA 30348                           164867                 02/28/2020              Services                                      $425.67
                                            164868                 02/28/2020              Services                                       $87.50
                                            164880                 02/28/2020              Services                                      $476.56
                                            164881                 02/28/2020              Services                                      $476.56
                                            164882                 02/28/2020              Services                                      $928.42
                                            164976                 03/13/2020              Services                                         $4.11
                                            164977                 03/13/2020              Services                                      $828.81
                                            164978                 03/13/2020              Services                                     $3,396.42
                                            164979                 03/13/2020              Services                                      $138.45
                                            164980                 03/13/2020              Services                                      $387.52
                                            164981                 03/13/2020              Services                                      $409.23
                                            164982                 03/13/2020              Services                                       $95.02
                                            164983                 03/13/2020              Services                                      $335.72
                                            164987                 03/20/2020              Services                                      $857.19
                                            164988                 03/20/2020              Services                                      $928.42
                                            164989                 03/20/2020              Services                                      $513.55
                                            164990                 03/20/2020              Services                                       $87.14
                                            165031                 03/27/2020              Services                                     $1,018.65
                                            165117                 04/03/2020              Services                                      $476.56
                                            165118                 04/03/2020              Services                                      $476.56
                                            165119                 04/03/2020              Services                                      $476.56
                                            165120                 04/03/2020              Services                                       $78.25
                                            165157                 04/10/2020              Services                                      $828.81
                                            165158                 04/10/2020              Services                                      $138.45
                                            165159                 04/10/2020              Services                                     $3,396.42
                                            165234                 04/24/2020              Services                                       $77.07
                                            165274                 05/04/2020              Services                                      $883.81
                                            165275                 05/04/2020              Services                                      $928.42
                                            165276                 05/04/2020              Services                                      $513.55
                                                                                                          SUBTOTAL                     $19,669.40

AVALARA, INC.
DEPT 16781                                  WT
PALATINE, IL 60055                          2020031300004650       03/13/2020              Other - Tax                                $321,636.55
                                            WT
                                            2020041400004300       04/14/2020              Other - Tax                                $288,020.81
                                                                                                          SUBTOTAL                    $609,657.36


                                                                    Page 7 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 23 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
AXIALL, LLC
PO BOX 842852
BOSTON, MA 02284                            165210                 04/17/2020              Suppliers or vendors                       $15,750.00
                                                                                                          SUBTOTAL                    $15,750.00

BAEZA TRUCKING & HOT SHOT
SERVICES, LLC
DIVERSIFIED LENDERS, INC.
PO BOX 94208
LUBBOCK, TX 79493                           165277                 05/04/2020              Suppliers or vendors                       $10,627.00
                                                                                                          SUBTOTAL                    $10,627.00

BAY LTD.
PO BOX 9908                                 V000193, 3/6/2020,
CORPUS CHRISTI, TX 78469                    ACHUSD                 03/06/2020              Suppliers or vendors                        $9,801.15
                                                                                                          SUBTOTAL                     $9,801.15

BEDROCK PETROLEUM CONSULTANTS,
LLC
201 RUE ILBERVILLE, SUITE 600  V002662, 5/11/2020,
LAFAYETTE, LA 70508            ACHUSD                              05/11/2020              Suppliers or vendors                       $10,408.03
                                                                                                          SUBTOTAL                    $10,408.03

BEH TRUCKING INC
17714 COOPER RD                             V002606, 4/17/2020,
PLEASANT CITY, OH 43772                     ACHUSD                 04/17/2020              Suppliers or vendors                        $6,887.50
                                            V002606, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $3,657.50
                                            V002606, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $3,705.00
                                            V002606, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                       $10,450.00
                                                                                                          SUBTOTAL                    $24,700.00

BELINDA LEATHERMAN
TAX ASSESSOR COLLECTOR
800 HILLSIDE
CANADIAN, TX 79014                          165121                 04/03/2020              Suppliers or vendors                        $1,279.72
                                            165122                 04/03/2020              Suppliers or vendors                       $22,619.04
                                                                                                          SUBTOTAL                    $23,898.76




                                                                    Page 8 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 24 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
BKD CONSULTING, INC
PO BOX 486                                  V000242, 3/6/2020,
WILLS POINT, TX 75169                       ACHUSD                 03/06/2020              Services                                   $127,655.50
                                            V000242, 3/20/2020,
                                            ACHUSD                 03/20/2020              Services                                   $130,004.62
                                            V000242, 4/3/2020,
                                            ACHUSD                 04/03/2020              Services                                   $124,792.50
                                            V000242, 4/24/2020,
                                            ACHUSD                 04/24/2020              Services                                    $77,037.25
                                            V000242, 5/11/2020,
                                            ACHUSD                 05/11/2020              Services                                   $146,699.50
                                                                                                          SUBTOTAL                    $606,189.37

BLACK SHEEP OILFIELD SERVICES, LLC
C/O RTS FINANCIAL SERVICE, INC
PO BOX 840267                      V000249, 3/27/2020,
DALLAS, TX 75284                   ACHUSD                          03/27/2020              Suppliers or vendors                        $10,262.75
                                            V000249, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $2,644.29
                                                                                                          SUBTOTAL                     $12,907.04

BLUEWATER, INC
107 ARCH STREET                             V000257, 5/1/2020,
KITTANNING, PA 16201                        ACHUSD                 05/01/2020              Suppliers or vendors                        $10,739.00
                                                                                                          SUBTOTAL                     $10,739.00

BMS
C/O FIRST FEDERAL COMM BANK
902 BOULEVARD                               V000258, 3/6/2020,
DOVER, OH 44622                             ACHUSD                 03/06/2020              Suppliers or vendors                        $22,500.00
                                            V000258, 5/19/2020,
                                            ACHUSD                 05/19/2020              Suppliers or vendors                        $11,250.00
                                                                                                          SUBTOTAL                     $33,750.00




                                                                    Page 9 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 25 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
BRI-CHEM SUPPLY CORP
DEPT 3064
PO BOX 123064                               V000314, 3/13/2020,
DALLAS, TX 75312                            ACHUSD                 03/13/2020              Suppliers or vendors                        $22,330.61
                                            V000314, 3/19/2020,
                                            ACHUSD                 03/19/2020              Suppliers or vendors                       $111,853.66
                                            V000314, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $84,599.90
                                            V000314, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $85,330.97
                                            V000314, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $82,999.85
                                            V000314, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $80,753.27
                                            V000314, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $72,683.89
                                            V000314, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $73,519.92
                                            V000314, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $79,982.05
                                                                                                          SUBTOTAL                    $694,054.12

BRITOS TRUCKING
C/O SW COMMERCIAL CAPITAL
PO BOX 872
ODESSA, TX 79760                            164921                 03/06/2020              Suppliers or vendors                        $10,978.33
                                            V000322, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $10,061.00
                                            V000322, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $10,573.94
                                            V000322, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $10,087.09
                                            V000322, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $10,650.00
                                            V000322, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $7,858.62
                                            V000322, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $9,741.57
                                            V000322, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $8,753.63
                                            V000322, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $10,275.00
                                                                                                          SUBTOTAL                     $88,979.18

BUSH, JASON
12300 STONECREEK RD.                        V001088, 3/13/2020,                            Other - Employee
NEWCOMERSTOWN, OH 43832                     ACHUSD                 03/13/2020              Payment                                      $2,722.53
                                            V001088, 4/10/2020,                            Other - Employee
                                            ACHUSD                 04/10/2020              Payment                                      $1,945.85
                                            V001088, 4/17/2020,                            Other - Employee
                                            ACHUSD                 04/17/2020              Payment                                      $5,311.51




                                                                   Page 10 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 26 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
BUSH, JASON
12300 STONECREEK RD.                        V001088, 4/24/2020,                            Other - Employee
NEWCOMERSTOWN, OH 43832                     ACHUSD                 04/24/2020              Payment                                      $5,220.00
                                            V001088, 5/8/2020,                             Other - Employee
                                            ACHUSD                 05/08/2020              Payment                                       $244.49
                                                                                                          SUBTOTAL                     $15,444.38

BX3 INC
123 WAYNE LANE
TUNKHANNOCK, PA 18657                       164993                 03/20/2020              Suppliers or vendors                         $5,383.22
                                            V000348, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $6,537.68
                                            V000348, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $6,617.55
                                                                                                          SUBTOTAL                     $18,538.45

BXT TRUCK AND TRAILER, INC
PO BOX 2495
CHICKASHA, OK 73023                         165161                 04/10/2020              Suppliers or vendors                        $10,407.44
                                            165237                 04/24/2020              Suppliers or vendors                          $956.32
                                                                                                          SUBTOTAL                     $11,363.76

BYK USA, INC
25116 NETWORK PLACE                         V000350, 4/13/2020,
CHICAGO, IL 60673                           ACHUSD                 04/13/2020              Suppliers or vendors                        $37,590.00
                                            V000350, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $38,037.50
                                            V000350, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $40,275.00
                                            V000350, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $35,800.00
                                                                                                          SUBTOTAL                    $151,702.50

CAC GEMS, LLC
313 FABIOLA AVE                             V000358, 3/6/2020,
LAFAYETTE, LA 70508                         ACHUSD                 03/06/2020              Suppliers or vendors                        $13,967.78
                                            V000358, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $15,621.90
                                                                                                          SUBTOTAL                     $29,589.68

CALCHLOR CORP
PO BOX 301656                               V000360, 3/6/2020,
DALLAS, TX 75303                            ACHUSD                 03/06/2020              Suppliers or vendors                        $53,900.00
                                            V000360, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $15,680.00
                                            V000360, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $22,330.00
                                            V000360, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $29,890.00
                                            V000360, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $30,380.00
                                            V000360, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $22,540.00



                                                                   Page 11 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 27 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
CALCHLOR CORP
PO BOX 301656                               V000360, 4/17/2020,
DALLAS, TX 75303                            ACHUSD                 04/17/2020              Suppliers or vendors                        $30,380.00
                                            V000360, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $15,190.00
                                            V000360, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $46,060.00
                                            V000360, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $30,870.00
                                            V000360, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $23,030.00
                                                                                                          SUBTOTAL                    $320,250.00

CARLOS MARTINEZ DBA ALAMO
MATERIALS, LLC
5605 N MACARTHUR BLVD                       V000071, 3/6/2020,
IRVING, TX 75038                            ACHUSD                 03/06/2020              Suppliers or vendors                        $22,954.75
                                            V000071, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $23,205.00
                                            V000071, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $7,735.00
                                                                                                          SUBTOTAL                     $53,894.75

CARNALITOS TRUCKING, INC
C/O SOUTHWEST COMM. CAPITAL
PO BOX 872
ODESSA, TX 79760                            164917                 03/05/2020              Suppliers or vendors                         $8,473.32
                                            V000387, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $10,653.46
                                            V000387, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $10,342.26
                                            V000387, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $9,439.76
                                            V000387, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $5,515.63
                                            V000387, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $9,705.68
                                            V000387, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $10,285.64
                                            V000387, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $8,748.97
                                            V000387, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $9,669.61
                                                                                                          SUBTOTAL                     $82,834.33

CEDAR FIBER CO, INC
PO BOX 56306                                V000401, 3/27/2020,
HOUSTON, TX 77256                           ACHUSD                 03/27/2020              Suppliers or vendors                         $3,484.80
                                            V000401, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $10,454.40
                                            V000401, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $16,302.00



                                                                   Page 12 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 28 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
CEDAR FIBER CO, INC
PO BOX 56306                                V000401, 4/17/2020,
HOUSTON, TX 77256                           ACHUSD                 04/17/2020              Suppliers or vendors                        $13,450.80
                                            V000401, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $3,484.80
                                            V000401, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $13,450.80
                                                                                                          SUBTOTAL                     $60,627.60

CHEMSOL, LLC
601 CARLSON PKWY #400                       V000436, 3/27/2020,
HOPKINS, MN 55305                           ACHUSD                 03/27/2020              Suppliers or vendors                        $16,762.50
                                            V000436, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $31,963.38
                                            V000436, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $24,233.00
                                            V000436, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $11,155.20
                                            V000436, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $22,310.40
                                                                                                          SUBTOTAL                    $106,424.48

CHICAGO FREIGHT CAR LEASING
PO BOX 74007555
CHICAGO, IL 60674-7555                      164915                 03/06/2020              Suppliers or vendors                        $17,500.00
                                                                                                          SUBTOTAL                     $17,500.00

CIMBAR PERFORMANCE MINERALS
49-0 JACKSON LAKE ROAD                      V000463, 3/6/2020,
CHATSWORTH, GA 30705                        ACHUSD                 03/06/2020              Suppliers or vendors                        $64,344.23
                                            V000463, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $15,029.75
                                            686                    03/20/2020              Suppliers or vendors                        $94,776.08
                                            V000463, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $40,989.64
                                            V000463, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $15,822.61
                                            V000463, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $85,831.67
                                            V000463, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $123,110.82
                                            V000463, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $24,227.60
                                            V000463, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $43,426.24
                                            V000463, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                       $117,689.48
                                                                                                          SUBTOTAL                    $625,248.12

CIMBAR WV
49-0 JACKSON LAKE ROAD                      V000464, 3/6/2020,
CHATSWORTH, GA 30705                        ACHUSD                 03/06/2020              Suppliers or vendors                       $216,570.37



                                                                   Page 13 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 29 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
CIMBAR WV
49-0 JACKSON LAKE ROAD                      V000464, 3/13/2020,
CHATSWORTH, GA 30705                        ACHUSD                 03/13/2020              Suppliers or vendors                        $162,605.36
                                            685                    03/20/2020              Suppliers or vendors                        $212,162.16
                                            V000464, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $261,404.96
                                            V000464, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $399,143.72
                                            165164                 04/10/2020              Suppliers or vendors                            $101.90
                                            V000464, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $346,075.08
                                            V000464, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $318,404.21
                                            V000464, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $415,745.88
                                            V000464, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $395,744.89
                                            V000464, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $422,241.42
                                            V000464, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $175,097.72
                                                                                                          SUBTOTAL                    $3,325,297.67

CINTAS
PO BOX 650838
DALLAS, TX 75265                            164995                 03/20/2020              Suppliers or vendors                          $1,534.12
                                            165103                 03/27/2020              Suppliers or vendors                          $5,211.67
                                            165238                 04/24/2020              Suppliers or vendors                            $219.25
                                                                                                          SUBTOTAL                       $6,965.04

CKENERGY ELECTRIC COOP
PO BOX 70
BINGER, OK 73009                            164952                 03/13/2020              Suppliers or vendors                          $1,167.00
                                            164953                 03/13/2020              Suppliers or vendors                          $2,421.00
                                            165240                 04/24/2020              Suppliers or vendors                          $5,326.00
                                                                                                          SUBTOTAL                       $8,914.00

CLARK, JEFFREY W
940 A SNOWFALL SPUR                         V001111, 3/20/2020,
AKRON, OH 44313                             ACHUSD                 03/20/2020              Suppliers or vendors                          $2,600.00
                                            V001111, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                          $1,950.00
                                            V001111, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                          $3,550.00
                                                                                                          SUBTOTAL                       $8,100.00

CLEAR CREEK RANCH, LLC
PO BOX 301
PARACHUTE, CO 81635                         164898                 03/06/2020              Suppliers or vendors                          $7,000.00
                                                                                                          SUBTOTAL                       $7,000.00




                                                                   Page 14 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 30 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
CLOVERDALE EQUIPMENT COMPANY
OF OHIO
1004 W. BAGLEY ROAD
BEREA, OH 44017                             164997                 03/20/2020              Suppliers or vendors                        $5,737.88
                                            165165                 04/10/2020              Suppliers or vendors                        $2,868.94
                                                                                                          SUBTOTAL                     $8,606.82

COCHERAN, BRAD
16768 LITTLE LEAF CT.                       V000274, 3/6/2020,                             Other - Employee
EDMOND, OK 73012                            ACHUSD                 03/06/2020              Payment                                     $2,500.00
                                            V000274, 4/3/2020,                             Other - Employee
                                            ACHUSD                 04/03/2020              Payment                                     $2,500.00
                                            V000274, 4/24/2020,                            Other - Employee
                                            ACHUSD                 04/24/2020              Payment                                     $2,500.00
                                                                                                          SUBTOTAL                     $7,500.00

CONNECTION CHEMICAL, INC
PO BOX 209016
DALLAS, TX 75320                            165125                 04/03/2020              Suppliers or vendors                        $8,287.50
                                                                                                          SUBTOTAL                     $8,287.50

CONTINENTAL WIRE CLOTH
11240 SOUTH JAMES AVE                       V000541, 3/27/2020,
JENKS, OK 74037                             ACHUSD                 03/27/2020              Suppliers or vendors                       $37,003.48
                                            V000541, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $21,582.62
                                            V000541, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                       $14,388.42
                                            V000541, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $6,994.21
                                            V000541, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $7,332.80
                                                                                                          SUBTOTAL                    $87,301.53

COOLEY CONSULTING LLC
MARK COOLEY
742 ACORN CREEK TRAIL                       V000543, 3/20/2020,
SULPHUR, LA 70663                           ACHUSD                 03/20/2020              Suppliers or vendors                       $11,313.22
                                            V000543, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $2,052.50
                                            V000543, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $9,300.00
                                                                                                          SUBTOTAL                    $22,665.72

COYLE TRANSPORT SERVICES, INC
260 RT. 519
EIGHTY FOUR, PA 15330                       165213                 04/17/2020              Suppliers or vendors                       $46,305.00
                                                                                                          SUBTOTAL                    $46,305.00




                                                                   Page 15 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 31 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
CRADDICK, THOMAS R
2 LAKES DRIVE                               V002061, 4/24/2020,
MIDLAND, TX 79705                           ACHUSD                 04/24/2020              Suppliers or vendors                        $3,832.82
                                            V002061, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $4,000.00
                                                                                                          SUBTOTAL                     $7,832.82

CRESCENT CONSULTING LLC
13212 N MACARTHUR BLVD                      V000572, 3/20/2020,
OKLAHOMA CITY, OK 73142                     ACHUSD                 03/20/2020              Suppliers or vendors                       $16,800.00
                                            V000572, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $6,400.00
                                            V000572, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                       $11,200.00
                                                                                                          SUBTOTAL                    $34,400.00

CRYSTAL GAMBOA
919 HOWARD DR.                              V002379, 3/6/2020,
MIDLAND, TX 79703                           ACHUSD                 03/06/2020              Suppliers or vendors                        $4,100.00
                                            V002379, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $6,150.00
                                            V002379, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $4,750.00
                                            V002379, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $1,400.00
                                            V002379, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $9,250.00
                                            V002379, 5/13/2020,
                                            ACHUSD                 05/13/2020              Suppliers or vendors                        $1,550.00
                                                                                                          SUBTOTAL                    $27,200.00

CS TRUCKING/CENT HYDRAULIC,INC
7324 WOODBURY PIKE
ROARING SPRING, PA 16673                    165243                 04/24/2020              Suppliers or vendors                        $6,555.00
                                            165292                 05/04/2020              Suppliers or vendors                       $15,342.50
                                                                                                          SUBTOTAL                    $21,897.50

CUZICK OILFIELD SERVICE, LLC
3115 ALLENDALE BLVD                         V002605, 3/6/2020,
CASPER, WY 82601                            ACHUSD                 03/06/2020              Suppliers or vendors                       $14,400.00
                                            V002605, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $3,600.00
                                            V002605, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $3,150.00
                                            V002605, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $5,400.00
                                                                                                          SUBTOTAL                    $26,550.00

DASCO, INC
9785 MAROON CIRCLE, STE 110
ENGLEWOOD, CO 80112                         165044                 03/27/2020              Suppliers or vendors                       $10,214.40
                                            165128                 04/03/2020              Suppliers or vendors                       $30,680.40
                                            165168                 04/10/2020              Suppliers or vendors                       $19,595.52


                                                                   Page 16 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 32 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
DASCO, INC
9785 MAROON CIRCLE, STE 110                 V000633, 4/17/2020,
ENGLEWOOD, CO 80112                         ACHUSD                 04/17/2020              Suppliers or vendors                        $12,407.00
                                            V000633, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $19,614.12
                                            V000633, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $20,305.50
                                                                                                          SUBTOTAL                    $112,816.94

DAVID H. LAMAR DBA AUTUMN
VENTURES LLC
12900 BIG SKY DR                            V002630, 3/6/2020,
EDMOND, OK 73025                            ACHUSD                 03/06/2020              Suppliers or vendors                        $10,462.41
                                            V002630, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                          $824.24
                                                                                                          SUBTOTAL                     $11,286.65

DEARBORN LIFE INSURANCE COMPANY
701 E. 22ND STREET
LOMBARD, IL 60148               164942                             03/06/2020              Other - Insurance                           $46,284.22
                                            165100                 03/27/2020              Other - Insurance                           $10,788.46
                                            165101                 03/27/2020              Other - Insurance                           $33,401.47
                                            165244                 04/24/2020              Other - Insurance                           $44,333.48
                                                                                                          SUBTOTAL                    $134,807.63

DESERT EAGLE SERVICES, LLC
PO BOX 205
LOMA, CO 81524                              165245                 04/24/2020              Suppliers or vendors                         $7,110.00
                                                                                                          SUBTOTAL                      $7,110.00

DIMENSION OILFIELD PRODUCTS LLC
PO BOX 1733                                 V000687, 3/6/2020,
HUMBLE, TX 77347                            ACHUSD                 03/06/2020              Suppliers or vendors                        $30,404.50
                                            V000687, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $17,205.00
                                            V000687, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $13,507.50
                                            V000687, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $6,160.00
                                                                                                          SUBTOTAL                     $67,277.00

DM TRANS, LLC
7701 METROPOLIS DRIVE BUILDINGS 14
 &15                               V002616, 4/17/2020,
AUSTIN, TX 78744                   ACHUSD                          04/17/2020              Suppliers or vendors                         $4,050.00
                                            V002616, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $1,735.00
                                            V002616, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $1,500.00
                                                                                                          SUBTOTAL                      $7,285.00




                                                                   Page 17 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 33 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
DOUBLE C TRUCKING & EXCAVATION
INC
5279 W 4000 S                               V000709, 4/3/2020,
ROOSEVELT, UT 84066                         ACHUSD                 04/03/2020              Suppliers or vendors                         $3,760.00
                                            V000709, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $5,920.00
                                            V000709, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $6,730.00
                                            V000709, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,660.00
                                                                                                          SUBTOTAL                     $22,070.00

DOW, DANIEL R
124 DEAN STREET                             V000624, 3/6/2020,
NICHOLS, NY 13812                           ACHUSD                 03/06/2020              Suppliers or vendors                         $5,600.00
                                            V000624, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $6,400.00
                                            V000624, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $7,881.25
                                            V000624, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $6,400.00
                                            V000624, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $5,425.00
                                                                                                          SUBTOTAL                     $31,706.25

DRILLING SPECIALTIES COMPANY
C/O CHEVRON PHILLIPS CHEMICAL
4358 COLLECTIONS CENTER DRIVE               V000723, 3/27/2020,
CHICAGO, IL 60693                           ACHUSD                 03/27/2020              Suppliers or vendors                        $92,240.00
                                            V000723, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $47,200.00
                                                                                                          SUBTOTAL                    $139,440.00

DUQUENSE LIGHT COMPANY
PAYMENT PROCESSING CENTER
PO BOX 10
PITTSBURGH, PA 15230                        164879                 02/28/2020              Suppliers or vendors                         $4,143.67
                                            165130                 04/03/2020              Suppliers or vendors                         $3,269.25
                                                                                                          SUBTOTAL                      $7,412.92

DWM CONSULTING LLC
PO BOX 997                                  V000736, 3/6/2020,
LAKE DALLAS, TX 75065                       ACHUSD                 03/06/2020              Suppliers or vendors                        $26,169.20
                                            V000736, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $15,717.50
                                            V000736, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $19,000.00
                                            V000781, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                          $972.80
                                            V000736, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,600.00
                                                                                                          SUBTOTAL                     $69,459.50




                                                                   Page 18 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 34 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
E 3 DRILLING FLUID CHEM, LLC
1123 LUMPKIN RD                             V000744, 3/13/2020,
HOUSTON, TX 77043                           ACHUSD                 03/13/2020              Suppliers or vendors                         $19,890.00
                                            V000744, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $19,890.00
                                            V000744, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $19,890.00
                                            V000744, 4/6/2020,
                                            ACHUSD                 04/06/2020              Suppliers or vendors                         $39,780.00
                                            V000744, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $18,180.00
                                            V000744, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $19,890.00
                                            V000744, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                         $21,060.00
                                                                                                           SUBTOTAL                    $158,580.00

EAST WEST TECHNOLOGIES, INC.
289 ROUTE 33
BLDG A, SUITE 6                             V002353, 3/27/2020,
MANALAPAN, NJ 07726                         ACHUSD                 03/27/2020              Suppliers or vendors                         $20,000.00
                                            V002353, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $20,000.00
                                            V002353, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $20,000.00
                                            V002353, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $20,000.00
                                            V002353, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $18,150.40
                                                                                                           SUBTOTAL                     $98,150.40

ECO-SHELL, INC
10695 DECKER AVENUE                         V000755, 3/27/2020,
LOS MOLINOS, CA 96055                       ACHUSD                 03/27/2020              Suppliers or vendors                          $6,975.00
                                                                                                           SUBTOTAL                      $6,975.00

ECTOR COUNTY APPRAISAL DISTRICT
1301 E 8TH STREET
ODESSA, TX 79761                            165131                 04/03/2020              Other - Taxes                                $12,624.34
                                            165154                 04/03/2020              Other - Taxes                                $90,162.62
                                                                                                           SUBTOTAL                    $102,786.96

ELEMENTIS SPECIALTIES, INC
1577 MOMEMTUM PLACE                         V000768, 3/27/2020,
CHICAGO, IL 60689                           ACHUSD                 03/27/2020              Suppliers or vendors                         $64,000.00
                                            V000768, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $38,220.00
                                                                                                           SUBTOTAL                    $102,220.00

ENCINA BUSINESS CREDIT, LLC
ATTN: THOMAS SULLIVAN
123 N. WACKER DRIVE, SUITE 2400             WT
CHICAGO, IL 60606                           2020030200011760       03/02/2020              Secured Debt                               $5,000,000.00



                                                                   Page 19 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 35 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ENCINA BUSINESS CREDIT, LLC
ATTN: THOMAS SULLIVAN
123 N. WACKER DRIVE, SUITE 2400             WT
CHICAGO, IL 60606                           2020033000007550       03/30/2020              Secured Debt                                $327,092.90
                                            WT
                                            2020040100008200       04/01/2020              Secured Debt                               $3,947,242.60
                                            WT
                                            2020051200001880       05/12/2020              Secured Debt                           $10,154,012.23
                                                                                                          SUBTOTAL                $19,428,347.73

ENTERGY
PO BOX 8108
BATON ROUGE, LA 70891                       164864                 02/28/2020              Suppliers or vendors                            $137.37
                                            164865                 02/28/2020              Suppliers or vendors                            $246.72
                                            164866                 02/28/2020              Suppliers or vendors                          $1,730.75
                                            165006                 03/20/2020              Suppliers or vendors                          $1,025.87
                                            165048                 03/27/2020              Suppliers or vendors                            $287.98
                                            165049                 03/27/2020              Suppliers or vendors                          $1,735.83
                                            165050                 03/27/2020              Suppliers or vendors                            $143.07
                                            165300                 05/04/2020              Suppliers or vendors                            $161.92
                                            165301                 05/04/2020              Suppliers or vendors                            $104.73
                                            165302                 05/04/2020              Suppliers or vendors                            $286.77
                                            165303                 05/04/2020              Suppliers or vendors                          $1,752.34
                                                                                                          SUBTOTAL                       $7,613.35

ENTERPRISE FLEET MANAGEMENT, INC
PO BOX 800089
KANSAS CITY, MO 64180            165051                            03/27/2020              Suppliers or vendors                          $5,727.82
                                            165248                 04/24/2020              Suppliers or vendors                          $6,719.19
                                                                                                          SUBTOTAL                      $12,447.01

EXCALIBAR MINERALS LLC
PO BOX 973693                               V000816, 3/27/2020,
DALLAS, TX 75397                            ACHUSD                 03/27/2020              Suppliers or vendors                         $67,661.20
                                            V000816, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $50,561.34
                                            V000816, 4/13/2020,
                                            ACHUSD                 04/13/2020              Suppliers or vendors                         $50,649.66
                                            V000816, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $51,780.57
                                            V000816, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $50,620.62
                                                                                                          SUBTOTAL                     $271,273.39




                                                                   Page 20 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 36 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
FAA DRILLING FLUIDS CONSULTING
LLC
801 SAINT ANNE STREET                       V000822, 3/20/2020,
SCOTT, LA 70583                             ACHUSD                 03/20/2020              Suppliers or vendors                        $12,025.00
                                            V000822, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,050.00
                                                                                                           SUBTOTAL                    $17,075.00

FEDERAL WHOLESALE DRIG MUD
PO BOX 732135                               V000832, 3/6/2020,
DALLAS, TX 75373                            ACHUSD                 03/06/2020              Suppliers or vendors                        $92,797.92
                                            V000832, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $99,000.14
                                            V000832, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $91,349.96
                                            V000832, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $85,717.84
                                            V000832, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $45,204.04
                                                                                                           SUBTOTAL                   $414,069.90

FERMIN AGUILAR WELDING SERVICE,
INC.
PO BOX 53367                                V002384, 3/6/2020,
MIDLAND, TX 79710                           ACHUSD                 03/06/2020              Suppliers or vendors                         $9,412.19
                                            V002384, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $9,205.20
                                            V002384, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $3,531.00
                                            V002384, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $3,994.00
                                                                                                           SUBTOTAL                    $26,142.39

FIRST NATIONAL BANK
C/O FNB-TOMAS WEBB
3014 EAST STATE STREET
HERMITAGE, PA 16148                         03/02/2020 ACH         03/02/2020              Other - Lease                               $34,351.05
                                            04/01/2020 ACH         04/01/2020              Other - Lease                               $35,027.61
                                                                                                           SUBTOTAL                    $69,378.66

FIRST SOURCE TECHNOLOGY, INC
PO BOX 521                                  V000841, 2/28/2020,
GIDDINGS, TX 78942                          ACHUSD                 02/28/2020              Suppliers or vendors                        $45,200.00
                                            V000841, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                        $49,280.00
                                            V000841, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $44,374.00
                                            821                    05/01/2020              Suppliers or vendors                        $20,540.00
                                                                                                           SUBTOTAL                   $159,394.00

FISCHER BUSH EQUIPMENT
155 COMMERCE BLVD.                          V002376, 3/6/2020,
LOVELAND, OH 45140                          ACHUSD                 03/06/2020              Suppliers or vendors                        $15,198.85



                                                                   Page 21 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 37 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
FISCHER BUSH EQUIPMENT
155 COMMERCE BLVD.                          V002376, 3/20/2020,
LOVELAND, OH 45140                          ACHUSD                 03/20/2020              Suppliers or vendors                         $5,048.52
                                            V002376, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $2,160.00
                                            V002376, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $2,893.25
                                            V002376, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $1,043.25
                                            V002376, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $1,824.35
                                                                                                          SUBTOTAL                     $28,168.22

FLUID SYSTEMS INC
18703 INTERCONTINENTAL                      V000846, 2/28/2020,
HOUSTON, TX 77073                           ACHUSD                 02/28/2020              Suppliers or vendors                        $23,204.21
                                            V000846, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                        $23,151.64
                                            V000846, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $10,430.40
                                            V000846, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $7,720.47
                                            V000846, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $18,782.39
                                            V000846, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $15,102.04
                                            V000846, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $13,088.16
                                                                                                          SUBTOTAL                    $111,479.31

FOLEY, JEREMY W
3430 ASTORBROOK WAY                         V002487, 3/6/2020,
HIGHLANDS RANCH, CO 80126                   ACHUSD                 03/06/2020              Suppliers or vendors                         $3,750.00
                                            V002487, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $6,120.00
                                            V002487, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $6,000.00
                                            V002487, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,200.00
                                            V002487, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $2,600.00
                                                                                                          SUBTOTAL                     $23,670.00

FRAC TANK RENTALS, LLC
191 TAMMY DRIVE                             V000854, 3/27/2020,
ODESSA, TX 79766                            ACHUSD                 03/27/2020              Suppliers or vendors                        $20,585.94
                                            V000854, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $13,546.88
                                                                                                          SUBTOTAL                     $34,132.82




                                                                   Page 22 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 38 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
FRANKLIN EQUIPMENT
PO BOX 2208                                 V000857, 4/10/2020,
DECATUR, AL 35609                           ACHUSD                 04/10/2020              Suppliers or vendors                        $4,581.43
                                            V000857, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $6,678.00
                                                                                                          SUBTOTAL                    $11,259.43

GEO SPECIALTY CHEMICALS, INC
PO BOX 654049
DALLAS, TX 75265                            737                    04/03/2020              Suppliers or vendors                       $37,800.00
                                                                                                          SUBTOTAL                    $37,800.00

GEOFLUID ANALYTICS LLC
1422 WEST JADE DRIVE                        V000893, 3/6/2020,
SAINT GEORGE, UT 84770                      ACHUSD                 03/06/2020              Suppliers or vendors                       $12,000.00
                                                                                                          SUBTOTAL                    $12,000.00

GILLARD, DAVID
110 WOOLF LANE                                                                             Other - Employee
ITHACA, NY 14850                            165111                 03/30/2020              Payment                                     $7,050.81
                                                                                                          SUBTOTAL                     $7,050.81

GLENN TURNER DBA TURNER MUD
CONSULTING, LLC
GLENN TURNER
218 W. MESA                                 V002156, 3/6/2020,
HOBBS, NM 88240                             ACHUSD                 03/06/2020              Suppliers or vendors                        $6,934.00
                                            V002156, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $7,588.00
                                            V002156, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $7,942.00
                                            V002156, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $7,904.00
                                            V002156, 5/8/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $5,088.00
                                                                                                          SUBTOTAL                    $35,456.00

GREATLAND INVESTMENT GROUP LLC
PO BOX 521885
BIG LAKE, AK 99652                          165052                 03/27/2020              Suppliers or vendors                        $7,900.00
                                                                                                          SUBTOTAL                     $7,900.00

GREER INDUSTRIES, INC.
570 CANYON ROAD                             V002443, 3/6/2020,
MORGANTOWN, WV 26508                        ACHUSD                 03/06/2020              Suppliers or vendors                       $11,182.50
                                            V002443, 3/19/2020,
                                            ACHUSD                 03/19/2020              Suppliers or vendors                       $21,622.50
                                            V002443, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $21,622.50
                                            V002443, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                       $20,300.00
                                            V002443, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $21,622.50




                                                                   Page 23 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 39 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
GREER INDUSTRIES, INC.
570 CANYON ROAD                             V002443, 4/24/2020,
MORGANTOWN, WV 26508                        ACHUSD                 04/24/2020              Suppliers or vendors                          $5,017.50
                                            V002443, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $10,440.00
                                            V002443, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                         $16,402.50
                                                                                                          SUBTOTAL                     $128,210.00

GSS CONST. & OILFIELD SUPPLY
3396 SWAN LAKE ROAD                         V000934, 3/13/2020,
BOSSIER CITY, LA 71111                      ACHUSD                 03/13/2020              Suppliers or vendors                          $7,910.39
                                            V000934, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $10,269.81
                                            V000934, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                          $2,666.57
                                            V000934, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                          $6,218.51
                                                                                                          SUBTOTAL                      $27,065.28

HEALTH CARE SERVICE CORPORATION
PO BOX 731428
DALLAS, TX 75373                622                                03/06/2020              Suppliers or vendors                         $52,223.09
                                            623                    03/06/2020              Suppliers or vendors                        $380,620.74
                                            705                    03/27/2020              Suppliers or vendors                         $25,184.69
                                            706                    03/27/2020              Suppliers or vendors                        $375,766.63
                                            796                    04/24/2020              Suppliers or vendors                        $391,948.20
                                            797                    04/24/2020              Suppliers or vendors                         $24,489.81
                                                                                                          SUBTOTAL                    $1,250,233.16




                                                                   Page 24 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 40 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
HECTOR M. RIVERA DBA MILAGROS
TRUCKING
C/O SW COMMERCIAL CAPITAL
PO BOX 872                                  V001422, 3/6/2020,
ODESSA, TX 79760                            ACHUSD                 03/06/2020              Suppliers or vendors                        $10,499.98
                                            V001422, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                         $9,941.68
                                            V001422, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $10,132.97
                                            V001422, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $10,385.36
                                            V001422, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $9,471.76
                                            V001422, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $9,730.57
                                            V001422, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $10,132.47
                                            V001422, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,096.44
                                            V001422, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $10,560.39
                                                                                                          SUBTOTAL                     $85,951.62

HORSEHEADS ENERGY TERMINAL,LLC
C/O RLB HOLDINGS
343 GREENWICH AVE., STE 200
GREENWICH, CT 06831                         164902                 03/06/2020              Suppliers or vendors                        $16,145.83
                                                                                                          SUBTOTAL                     $16,145.83

HSBC BANK CANADA
C/O TH1057U
PO BOX 4283 PT STN A
TORONTO, ON M5W 5W6
CANADA                                      586                    02/28/2020              Suppliers or vendors                       $156,587.95
                                            704                    03/27/2020              Suppliers or vendors                       $195,740.27
                                            798                    04/24/2020              Suppliers or vendors                       $212,976.43
                                                                                                          SUBTOTAL                    $565,304.65

HUDSON ENERGY
PO BOX 731137
DALLAS, TX 75373                            165009                 03/20/2020              Suppliers or vendors                         $6,534.94
                                            165053                 03/27/2020              Suppliers or vendors                         $7,571.91
                                            165054                 03/27/2020              Suppliers or vendors                          $479.39
                                            165133                 04/03/2020              Suppliers or vendors                          $503.66
                                            165307                 05/04/2020              Suppliers or vendors                         $5,383.59
                                                                                                          SUBTOTAL                     $20,473.49

HUTCHINSON HAYES SEPARATION, INC
3520 E SAM HOUSTON PKWY N        V001006, 4/24/2020,
HOUSTON, TX 77015                ACHUSD                            04/24/2020              Suppliers or vendors                         $8,000.00
                                                                                                          SUBTOTAL                      $8,000.00




                                                                   Page 25 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 41 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ICL-IP AMERICA, INC
PO BOX 3247
CAROL STREAM, IL 60132                      640                    03/13/2020              Suppliers or vendors                        $38,236.80
                                            701                    03/27/2020              Suppliers or vendors                       $162,028.44
                                            733                    04/03/2020              Suppliers or vendors                        $62,134.80
                                            771                    04/17/2020              Suppliers or vendors                        $47,796.00
                                            816                    05/01/2020              Suppliers or vendors                        $15,294.72
                                                                                                          SUBTOTAL                    $325,490.76

IDAHO TRUCK SERVICE, INC
PO BOX 231                                  V001017, 4/10/2020,
IONA, ID 83427                              ACHUSD                 04/10/2020              Suppliers or vendors                        $16,500.00
                                            V001017, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $14,505.00
                                                                                                          SUBTOTAL                     $31,005.00

IEP MINERALS, LLC
101 NORTH VAL VERDE RD                      V001018, 3/6/2020,
DONNA, TX 78537                             ACHUSD                 03/06/2020              Suppliers or vendors                        $63,184.40
                                            V001018, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $69,656.46
                                            V001018, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                       $140,295.48
                                            V001018, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $110,370.24
                                            V001018, 4/13/2020,
                                            ACHUSD                 04/13/2020              Suppliers or vendors                        $43,935.24
                                                                                                          SUBTOTAL                    $427,441.82

IGO BROTHERS, LLC
PO BOX 1311
DOUGLAS, WY 82633                           164910                 03/06/2020              Suppliers or vendors                         $2,300.00
                                            669                    03/19/2020              Suppliers or vendors                         $9,215.00
                                            V001019, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $5,119.00
                                            V001019, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $9,048.00
                                            V001019, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $25,262.00
                                            V001019, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,405.00
                                            V001019, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $2,300.00
                                                                                                          SUBTOTAL                     $60,649.00




                                                                   Page 26 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 42 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
IGO OIL FIELD SERVICE, INC.
PO BOX 1311
DOUGLAS, WY 82633                           670                    03/19/2020              Suppliers or vendors                         $2,385.00
                                            V002532, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $2,610.00
                                            V002532, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $3,255.00
                                            V002532, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $1,522.50
                                                                                                          SUBTOTAL                      $9,772.50

IN HOT WATER, LLC
16201 EAST MAIN STREET                      V001021, 3/6/2020,
CUT OFF, LA 70345                           ACHUSD                 03/06/2020              Suppliers or vendors                        $94,780.01
                                            V001021, 4/13/2020,
                                            ACHUSD                 04/13/2020              Suppliers or vendors                        $75,000.00
                                                                                                          SUBTOTAL                    $169,780.01

INDUSTRIAL PROCESS EQUIPMENT
26111 NETWORK PLACE                         V001025, 2/25/2020,
CHICAGO, IL 60673                           ACHUSD                 02/25/2020              Suppliers or vendors                        $70,005.00
                                            V001025, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                        $66,513.00
                                            V001025, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $5,992.00
                                            V001025, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $10,000.00
                                            V001025, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $10,700.00
                                                                                                          SUBTOTAL                    $163,210.00




                                                                   Page 27 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 43 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
INGEVITY CORPORATION
PO BOX 743657
ATLANTA, GA 30374                           587                    02/28/2020              Suppliers or vendors                        $174,933.00
                                            V001028, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                         $18,749.20
                                            V001028, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $134,653.39
                                            684                    03/20/2020              Suppliers or vendors                        $113,278.80
                                            V001028, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $207,817.40
                                            V001028, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $129,493.00
                                            V001028, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $147,343.00
                                            V001028, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $123,096.00
                                            V001028, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $133,351.80
                                            806                    04/30/2020              Suppliers or vendors                        $126,396.80
                                            V001028, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $123,737.30
                                            V001028, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                         $97,656.00
                                                                                                          SUBTOTAL                    $1,530,505.69

INTEGRITY DELAWARE LLC DBA
INTEGRITY INDUSTRIES
1607 JUNCTION HIGHWAY
KERRVILLE, TX 78028                         165134                 04/03/2020              Suppliers or vendors                          $4,602.20
                                            V001032, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $13,570.00
                                                                                                          SUBTOTAL                      $18,172.20

INTERCHEM SERVICES, INC
8307 E STATE RT 69 #25982                   V001035, 3/27/2020,
PRESCOTT VALLEY, AZ 86312                   ACHUSD                 03/27/2020              Suppliers or vendors                         $30,690.00
                                            V001035, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $14,107.50
                                            V001035, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $29,565.00
                                            V001035, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $17,050.00
                                            V001035, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $28,215.00
                                                                                                          SUBTOTAL                     $119,627.50

IPC SERVICES, LLC
232 E. LANCASTER ROAD
HARMONY, PA 16037                           165308                 05/04/2020              Suppliers or vendors                          $9,037.50
                                                                                                          SUBTOTAL                       $9,037.50




                                                                   Page 28 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 44 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
IRM CONSULTING LLC
1809 FAIRMONT LN                            V002631, 3/6/2020,
EDMOND, OK 73013                            ACHUSD                 03/06/2020              Suppliers or vendors                       $14,700.00
                                                                                                          SUBTOTAL                    $14,700.00

IRON EAGLE ENTERPRISE, LLC
4991 BELMONT AVENUE                         V001045, 4/3/2020,
YOUNGSTOWN, OH 44505                        ACHUSD                 04/03/2020              Suppliers or vendors                        $4,480.00
                                            V001045, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $5,875.00
                                            V001045, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $9,947.50
                                            V001045, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $4,725.00
                                            V001045, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $6,955.00
                                            V001045, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $2,790.00
                                                                                                          SUBTOTAL                    $34,772.50

IRON MOUNTAIN SPECIALIZED
PO BOX 607
ELKINS, WV 26241                            164911                 03/06/2020              Suppliers or vendors                        $1,000.00
                                            V001047, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $11,305.00
                                            V001047, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $7,101.25
                                            V001047, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $12,065.00
                                            V001047, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $5,201.25
                                            V001047, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                       $10,022.50
                                            V001047, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                       $12,373.75
                                            V001047, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $2,802.50
                                                                                                          SUBTOTAL                    $61,871.25




                                                                   Page 29 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 45 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
J & K ENGINEERING CONSULTING
12180 OAK TREE LANE                         V001052, 3/6/2020,
WILLIS, TX 77318                            ACHUSD                 03/06/2020              Suppliers or vendors                        $9,100.00
                                            V001052, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                       $10,500.00
                                            V001052, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $4,900.00
                                            V001052, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $5,600.00
                                            V001052, 5/8/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $4,725.00
                                                                                                          SUBTOTAL                    $34,825.00

J & S DEVELOPING
C/O RIVIERA FINANCE
PO BOX 848244                               V001054, 3/4/2020,
LOS ANGELES, CA 90084                       ACHUSD                 03/04/2020              Suppliers or vendors                        $5,340.00
                                            V001054, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $5,100.00
                                            V001054, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $4,860.00
                                            V001054, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $3,960.00
                                            V001054, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $4,200.00
                                                                                                          SUBTOTAL                    $23,460.00

J HIBLEY CONSULTING, LLC.
16 VIDALIA DR.                              V002466, 4/3/2020,
HATTIESBURG, MS 39402                       ACHUSD                 04/03/2020              Suppliers or vendors                        $6,000.00
                                            V002466, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $10,500.00
                                                                                                          SUBTOTAL                    $16,500.00

J. J. KELLER & ASSOCIATES, INC
PO BOX 6609                                 V001058, 3/27/2020,
CAROL STREAM, IL 60197                      ACHUSD                 03/27/2020              Suppliers or vendors                        $7,140.36
                                            V001058, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $7,224.13
                                            V001058, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $928.67
                                            V001058, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $460.86
                                            V001058, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $995.00
                                            V001058, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                       $20,175.06
                                            V001058, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                         $446.68
                                                                                                          SUBTOTAL                    $37,370.76




                                                                   Page 30 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 46 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
JGB ENTERPRISES INC
PO BOX 209                                  V001127, 5/18/2020,
LIVERPOOL, NY 13088                         ACHUSD                 05/18/2020              Suppliers or vendors                         $8,396.99
                                                                                                          SUBTOTAL                      $8,396.99

JIM HICKS & COMPANY, INC
565 MERCURY LANE                            V001128, 3/4/2020,
BREA, CA 92821                              ACHUSD                 03/04/2020              Suppliers or vendors                        $54,043.54
                                            V001128, 3/11/2020,
                                            ACHUSD                 03/11/2020              Suppliers or vendors                        $45,314.83
                                            V001128, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $25,762.39
                                            V001128, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $28,017.87
                                            V001128, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $34,388.87
                                            V001128, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $36,665.24
                                            V001128, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $37,653.39
                                            V001128, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $31,927.23
                                                                                                          SUBTOTAL                    $293,773.36

JOSEPHSON DUNLAP LLP
11 E GREENWAY PLAZA #3050
HOUSTON, TX 77046                           718                    03/30/2020              Services                                    $50,781.00
                                                                                                          SUBTOTAL                     $50,781.00

JUSTIN WADE LISEMBEE DBA JB
FLUIDS, LLC
280 VAN HORN BLVD                           V002655, 4/24/2020,
MUNCY, PA 17756                             ACHUSD                 04/24/2020              Suppliers or vendors                         $4,800.00
                                            V002655, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $7,750.00
                                                                                                          SUBTOTAL                     $12,550.00




                                                                   Page 31 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 47 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
KLEIN TRUCKING, LLC
12949 WABASH CT.                            V001232, 3/20/2020,
THORNTON, CO 80602                          ACHUSD                 03/20/2020              Suppliers or vendors                         $7,080.00
                                            V001232, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $6,945.00
                                            V001232, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $6,435.00
                                            V001232, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $7,125.00
                                            V001232, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $7,065.00
                                            V001232, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,095.00
                                            V001232, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $7,020.00
                                                                                                          SUBTOTAL                     $48,765.00

KSKUNZ CONSULTING LLC
78 S 1060 W                                 V001240, 3/6/2020,
SPANISH FORK, UT 84660                      ACHUSD                 03/06/2020              Suppliers or vendors                         $3,500.00
                                            V001240, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $9,800.00
                                            V001240, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $4,900.00
                                            V001240, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $10,125.00
                                                                                                          SUBTOTAL                     $28,325.00

L & R MULTICRAFT SERVICES, INC
337 LYNN DRIVE                              V001249, 4/3/2020,
EL DORADO, AR 71730                         ACHUSD                 04/03/2020              Suppliers or vendors                        $10,595.90
                                            V001249, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $12,114.00
                                                                                                          SUBTOTAL                     $22,709.90

LANDWISE CONSULTING LLC
14235 CYPRESS VALLEY DR                     V001259, 3/6/2020,
CYPRESS, TX 77429                           ACHUSD                 03/06/2020              Suppliers or vendors                        $42,323.54
                                            V001259, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $5,925.42
                                            V001259, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $42,641.35
                                            V001259, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $22,927.64
                                            V001259, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $8,650.00
                                                                                                          SUBTOTAL                    $122,467.95

LARUE LAMB TRUCKING, INC
PO BOX 216
MYTON, UT 84052                             165216                 04/17/2020              Suppliers or vendors                         $8,617.08
                                                                                                          SUBTOTAL                      $8,617.08



                                                                   Page 32 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 48 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
LEE, ROY M
PO BOX 172                                  V001782, 3/6/2020,
MCCOMB, MS 39649                            ACHUSD                 03/06/2020              Suppliers or vendors                        $12,000.00
                                            V001782, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $12,000.00
                                            V001782, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $10,225.00
                                                                                                          SUBTOTAL                     $34,225.00

LEETSDALE INDUSTRIAL CORP
LOCKBOX # 9322
PO BOX 8500
PHILADELPHIA, PA 19178                      164904                 03/06/2020              Suppliers or vendors                         $9,560.00
                                                                                                          SUBTOTAL                      $9,560.00

LIEN, PETE
PO BOX 440
RAPID CITY, SD 57709                        165066                 03/27/2020              Suppliers or vendors                        $15,255.00
                                            165140                 04/03/2020              Suppliers or vendors                        $19,068.75
                                            165186                 04/10/2020              Suppliers or vendors                        $15,255.00
                                            165220                 04/17/2020              Suppliers or vendors                        $15,750.00
                                                                                                          SUBTOTAL                     $65,328.75

LISEMBEE, JUSTIN WADE
280 VAN HORN BLVD                           V001191, 3/6/2020,
MUNCY, PA 17756                             ACHUSD                 03/06/2020              Suppliers or vendors                         $8,000.00
                                            V001191, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $4,000.00
                                            V001191, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $7,200.00
                                                                                                          SUBTOTAL                     $19,200.00

LONE STAR TANK RENTAL, INC
PO BOX 204868                               V001301, 3/13/2020,
DALLAS, TX 75320                            ACHUSD                 03/13/2020              Suppliers or vendors                        $61,411.35
                                            V001301, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $20,000.00
                                            V001301, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $20,000.00
                                            V001301, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $19,909.85
                                            V001301, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $20,000.00
                                            V001301, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $20,000.00
                                            V001301, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $20,000.00
                                                                                                          SUBTOTAL                    $181,321.20




                                                                   Page 33 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 49 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
LUNAR SERVICES, LLC
133 WILLIAM DONNELLY IND. PKWY
WAVERLY, NY 14892                           165013                 03/20/2020              Suppliers or vendors                         $15,187.15
                                            165099                 03/27/2020              Suppliers or vendors                         $16,027.20
                                            165177                 04/10/2020              Suppliers or vendors                          $2,203.20
                                                                                                          SUBTOTAL                      $33,417.55

MANARY, MICAHEL                                                                            Other - Employee
ADDRESS ON FILE                             165112                 03/30/2020              Payment                                      $12,617.23
                                                                                                          SUBTOTAL                      $12,617.23

MANIS, JAROD WAYNE
3146 COOPER ROAD                            V001084, 3/20/2020,
GEORGETOWN, MS 39078                        ACHUSD                 03/20/2020              Suppliers or vendors                         $12,000.00
                                            V001084, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                          $6,400.00
                                                                                                          SUBTOTAL                      $18,400.00

MERCHANTS FLEET MANAGEMENT
1278 HOOKSETT ROAD                          V001378, 2/28/2020,
HOOKSETT, NH 03106                          ACHUSD                 02/28/2020              Suppliers or vendors                        $214,546.11
                                            V001378, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                         $27,861.42
                                            V001378, 3/18/2020,
                                            ACHUSD                 03/18/2020              Suppliers or vendors                         $87,922.17
                                            V001378, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $197,143.49
                                            V001378, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $25,194.39
                                            V001378, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $20,481.60
                                            V001378, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $21,904.33
                                            V001378, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $369,269.88
                                            V001378, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                         $17,430.01
                                            V001378, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                         $21,134.33
                                                                                                          SUBTOTAL                    $1,002,887.73

MES, LLC
891 LODGEVILLE ROAD                         V002619, 5/1/2020,
BRIDGEPORT, WV 26330                        ACHUSD                 05/01/2020              Suppliers or vendors                         $20,401.25
                                            V002619, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                         $24,296.25
                                            V002619, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                         $18,501.25
                                                                                                          SUBTOTAL                      $63,198.75




                                                                   Page 34 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 50 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
METROPLAZA
LOCKBOX#6592
PO BOX 8500
PHILADELPHIA, PA 19178-6592                 164905                 03/06/2020              Suppliers or vendors                        $35,622.55
                                            165061                 03/27/2020              Suppliers or vendors                           $67.32
                                            V001382, 5/19/2020,
                                            ACHUSD                 05/19/2020              Suppliers or vendors                        $25,000.00
                                                                                                           SUBTOTAL                    $60,689.87

MICHAEL SCOTT TRUCKING, INC
PO BOX 22020                                V001399, 4/17/2020,
CHEYENNE, WY 82003                          ACHUSD                 04/17/2020              Suppliers or vendors                         $7,822.50
                                                                                                           SUBTOTAL                     $7,822.50

MOBILE MINI
PO BOX 650882
DALLAS, TX 75265                            165136                 04/03/2020              Suppliers or vendors                         $4,216.32
                                            165180                 04/10/2020              Suppliers or vendors                         $4,216.32
                                                                                                           SUBTOTAL                     $8,432.64

MOBILE ROSIN OIL COMPANY
PO DRAWER 70107                             V001429, 4/3/2020,
MOBILE, AL 36670                            ACHUSD                 04/03/2020              Suppliers or vendors                        $42,400.00
                                            V001429, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $27,840.00
                                            V001429, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $42,400.00
                                                                                                           SUBTOTAL                   $112,640.00

MOBILEASE, INC
PO BOX 925628
HOUSTON, TX 77292                           03/10/2020 ACH         03/10/2020              Other - Lease                               $23,941.55
                                            04/13/2020 ACH         04/13/2020              Other - Lease                                $5,848.44
                                                                                                           SUBTOTAL                    $29,789.99

MONSTER SERVICES, LLC
PO BOX 1594                                 V002610, 3/16/2020,
ELK CITY, OK 73648                          ACHUSD                 03/16/2020              Suppliers or vendors                        $97,248.19
                                                                                                           SUBTOTAL                    $97,248.19

MONTANA-DAKOTA UTILITIES U
PO BOX 5600
BISMARCK, ND 58506                          164885                 02/28/2020              Suppliers or vendors                          $238.42
                                            164886                 02/28/2020              Suppliers or vendors                          $402.98
                                            164887                 02/28/2020              Suppliers or vendors                         $3,914.75
                                            164888                 02/28/2020              Suppliers or vendors                         $1,591.68
                                            165314                 05/04/2020              Suppliers or vendors                          $392.98
                                            165315                 05/04/2020              Suppliers or vendors                          $318.43
                                            165316                 05/04/2020              Suppliers or vendors                          $307.69
                                                                                                           SUBTOTAL                     $7,166.93




                                                                   Page 35 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 51 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
MONTCO POWER SOLUTIONS, LLC.
3117 W. ADMIRAL DOYLE DR.                   V002436, 4/10/2020,
NEW IBERIA, LA 70560                        ACHUSD                 04/10/2020              Suppliers or vendors                        $9,493.29
                                            V002436, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $4,547.55
                                                                                                          SUBTOTAL                    $14,040.84

MONTEVALLO, INC
PO BOX 1535                                 V001437, 3/6/2020,
MIDLAND, TX 79702                           ACHUSD                 03/06/2020              Suppliers or vendors                       $18,500.00
                                                                                                          SUBTOTAL                    $18,500.00

MUD TRANS, INC
ROUTE 4 BOX 7870
ELK CITY, OK 73644                          165064                 03/27/2020              Suppliers or vendors                        $8,110.00
                                            165137                 04/03/2020              Suppliers or vendors                        $4,890.00
                                            165182                 04/10/2020              Suppliers or vendors                        $8,180.00
                                            165217                 04/17/2020              Suppliers or vendors                        $6,710.00
                                            165255                 04/24/2020              Suppliers or vendors                        $5,190.00
                                                                                                          SUBTOTAL                    $33,080.00

MUDSMITH, LTD
DRAWER #2461
PO BOX 5935
TROY, MI 48007-5935                         164895                 02/28/2020              Suppliers or vendors                       $40,300.00
                                            164936                 03/06/2020              Suppliers or vendors                        $9,100.00
                                            165016                 03/20/2020              Suppliers or vendors                       $11,700.00
                                                                                                          SUBTOTAL                    $61,100.00

MUNN, WAYNE
PO BOX 932                                  V002237, 3/6/2020,
RUSH SPRINGS, OK 73082                      ACHUSD                 03/06/2020              Suppliers or vendors                       $12,000.00
                                            V002237, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $12,000.00
                                            V002237, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $7,750.00
                                                                                                          SUBTOTAL                    $31,750.00




                                                                   Page 36 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 52 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
MYERS WELL SERVICE INC
2001 BALLPARK COURT                         V001462, 4/3/2020,
EXPORT, PA 15632                            ACHUSD                 04/03/2020              Suppliers or vendors                        $58,680.00
                                            V001462, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $31,230.00
                                            V001462, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $32,332.50
                                            V001462, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $17,505.00
                                            V001462, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $42,480.00
                                            V001462, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $28,147.50
                                            V001462, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $13,297.50
                                                                                                          SUBTOTAL                    $223,672.50

NATIONAL OILWELL VARCO. LP
PO BOX 202631
DALLAS, TX 75320                            164937                 03/06/2020              Suppliers or vendors                        $15,218.00
                                            V001473, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $15,756.59
                                                                                                          SUBTOTAL                     $30,974.59

NAUSET CONSULTING INC
2218 EWING STREET APT B                     V001475, 3/6/2020,
HOUSTON, TX 77004                           ACHUSD                 03/06/2020              Suppliers or vendors                        $10,500.00
                                            V001475, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                          $750.00
                                            V001475, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $10,500.00
                                            V001475, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                          $725.00
                                            V001475, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $10,150.00
                                                                                                          SUBTOTAL                     $32,625.00




                                                                   Page 37 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 53 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
NORFOLK SOUTHERN
PO BOX 532797
ATLANTA, GA 30353                           164890                 03/02/2020              Suppliers or vendors                        $33,346.08
                                            V001493, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $33,346.08
                                            V001493, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $22,219.98
                                            V001493, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $7,388.76
                                            V001493, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,388.76
                                            V001493, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $14,777.52
                                            V001493, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $14,777.52
                                                                                                           SUBTOTAL                   $133,244.70

NORTHERN SERVICE, LLC
PO BOX 71143
FAIRBANKS, AK 99707                         165218                 04/17/2020              Suppliers or vendors                         $7,600.00
                                            165256                 04/24/2020              Suppliers or vendors                         $7,600.00
                                                                                                           SUBTOTAL                    $15,200.00

NUVERRA ENVIRONMENTAL SOLUTION
C/O LANDTECH ENTERPRISES LLC
PO BOX 912620                  V001506, 3/27/2020,
DENVER, CO 80291               ACHUSD                              03/27/2020              Suppliers or vendors                        $21,239.50
                                            V001506, 4/6/2020,
                                            ACHUSD                 04/06/2020              Suppliers or vendors                        $21,239.50
                                            V001506, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $4,110.00
                                            V001506, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $6,180.00
                                            V001506, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $4,530.00
                                                                                                           SUBTOTAL                    $57,299.00

OHIO MACHINERY CO.
3993 E. ROYALTON ROAD
BROADVIEW HEIGHTS, OH 44147                 610                    03/06/2020              Suppliers or vendors                        $14,087.35
                                            V002566, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $9,326.71
                                            707                    03/27/2020              Suppliers or vendors                         $9,772.62
                                                                                                           SUBTOTAL                    $33,186.68

OKLAHOMA TAX COMMISSION
PO BOX 26890
OKLAHOMA CITY, OK 73126                     03/20/2020 ACH         03/20/2020              Other - Taxes                                $2,346.65
                                            04/21/2020 ACH         04/21/2020              Other - Taxes                               $19,703.94
                                            165269                 04/26/2020              Other - Taxes                               $32,537.54
                                                                                                           SUBTOTAL                    $54,588.13




                                                                   Page 38 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 54 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
OLYMPIC ENERGY SERVICES LLC
C/O RIVIERA FINANCE #51904
PO BOX 823394                               V001539, 3/6/2020,
PHILADELPHIA, PA 19182-3394                 ACHUSD                 03/06/2020              Suppliers or vendors                         $5,510.00
                                            V001539, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $10,117.50
                                            V001539, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $5,320.00
                                            V001539, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $4,607.50
                                            V001539, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $5,106.25
                                            V001539, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $4,702.50
                                            V001539, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $5,367.50
                                            V001539, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $4,393.75
                                            V001539, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $2,945.00
                                            V001539, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                         $5,937.50
                                                                                                          SUBTOTAL                     $54,007.50

OMNOVA SOLUTIONS
PO BOX 978574                               V001540, 3/13/2020,
DALLAS, TX 75397                            ACHUSD                 03/13/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $27,800.00
                                            V001540, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $27,800.00
                                                                                                          SUBTOTAL                    $194,600.00

ORGANIC PRODUCTS, LLC
600 SAINT GEORGE AVE.
STE. B                                      V001543, 4/3/2020,
NEW ORLEANS, LA 70122                       ACHUSD                 04/03/2020              Suppliers or vendors                        $13,200.00
                                            V001543, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $13,200.00
                                                                                                          SUBTOTAL                     $26,400.00




                                                                   Page 39 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 55 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
O'ROURKE DISTRIBUTION, INC
PO BOX 301150                               V001544, 5/1/2020,
DALLAS, TX 75303                            ACHUSD                 05/01/2020              Suppliers or vendors                        $32,383.47
                                                                                                          SUBTOTAL                     $32,383.47

PATRIK'S WATER HAULING USA, LTD.
388 ELMIRA STREET                           V001564, 5/8/2020,
TROY, PA 16947                              ACHUSD                 05/08/2020              Suppliers or vendors                        $11,850.00
                                            V001564, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                         $4,450.00
                                                                                                          SUBTOTAL                     $16,300.00

PERMIAN MACHINERY MOVERS, INC
PO BOX 11281
ODESSA, TX 79760                            165185                 04/10/2020              Suppliers or vendors                         $6,694.76
                                            165219                 04/17/2020              Suppliers or vendors                        $11,101.50
                                            165258                 04/24/2020              Suppliers or vendors                         $7,384.09
                                            165321                 05/04/2020              Suppliers or vendors                        $10,175.70
                                                                                                          SUBTOTAL                     $35,356.05

PETTA ENTERPRISES, LLC
PO BOX 1505
CAMBRIDGE, OH 43725                         165141                 04/03/2020              Suppliers or vendors                         $3,300.00
                                            165187                 04/10/2020              Suppliers or vendors                         $3,935.00
                                            165221                 04/17/2020              Suppliers or vendors                         $6,095.00
                                            165259                 04/24/2020              Suppliers or vendors                         $2,940.00
                                                                                                          SUBTOTAL                     $16,270.00

PIERCE FLUIDS CONSULTING LLC
1004 SHEA LANE                              V001607, 3/6/2020,
MIDLAND, TX 79706                           ACHUSD                 03/06/2020              Suppliers or vendors                       $114,349.84
                                            V001607, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                       $111,252.55
                                            V001607, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $94,156.80
                                            V001607, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $74,265.33
                                            V001607, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $61,785.13
                                                                                                          SUBTOTAL                    $455,809.65




                                                                   Page 40 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 56 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
PILOT THOMAS LOGISTICS, LLC
PO BOX 677732
DALLAS, TX 75267                            165068                 03/27/2020              Suppliers or vendors                        $29,024.60
                                            165153                 04/03/2020              Suppliers or vendors                        $58,289.64
                                            V001610, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $128,517.36
                                            V001610, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $98,100.80
                                            V001610, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $28,964.37
                                                                                                          SUBTOTAL                    $342,896.77

PITTSBURGH LOGISTICS SYSTEMS, INC
3120 UNIONVILLE ROAD, BUILDING 110,
SUITE 100                           V002615, 4/3/2020,
CRANBERRY TOWNSHIP, PA 16066        ACHUSD                         04/03/2020              Suppliers or vendors                         $3,450.00
                                            V002615, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $4,150.00
                                            V002615, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $6,075.00
                                                                                                          SUBTOTAL                     $13,675.00

PLATINUM ASSETS, LLC
11063-D MEMORIAL DR. #412                   V002641, 3/24/2020,
TULSA, OK 74133                             ACHUSD                 03/24/2020              Suppliers or vendors                        $56,250.00
                                                                                                          SUBTOTAL                     $56,250.00

PORTABLE MUD SYSTEMS
PO BOX 7604                                 V001619, 3/20/2020,
MIDLAND, TX 79708                           ACHUSD                 03/20/2020              Suppliers or vendors                        $30,195.00
                                                                                                          SUBTOTAL                     $30,195.00

PREMIER ELECTRIC MOTORS INC
5408 SCR 1200                               V001628, 3/13/2020,
MIDLAND, TX 79706                           ACHUSD                 03/13/2020              Suppliers or vendors                        $11,064.64
                                            V001628, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $3,079.74
                                            V001628, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $4,947.86
                                            V001628, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $5,524.31
                                            V001628, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $5,246.76
                                                                                                          SUBTOTAL                     $29,863.31

PRODUCERS SUPPLY COMPANY INC
121 KIWI DRIVE                              V001641, 4/17/2020,
WAYNESBURG, PA 15370                        ACHUSD                 04/17/2020              Suppliers or vendors                        $10,835.70
                                                                                                          SUBTOTAL                     $10,835.70




                                                                   Page 41 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 57 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
PVS NOLWOOD CHEMICALS, INC
10900 HARPER AVE
DETROIT, MI 48213                           165142                 04/03/2020              Suppliers or vendors                       $24,458.60
                                            165189                 04/10/2020              Suppliers or vendors                       $12,320.00
                                                                                                          SUBTOTAL                    $36,778.60

QUALE TRUCKING
PO BOX 970                                  V001655, 4/24/2020,
NEW TOWN, ND 58763                          ACHUSD                 04/24/2020              Suppliers or vendors                       $12,500.00
                                            V001655, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                       $12,500.00
                                                                                                          SUBTOTAL                    $25,000.00

RAIDER PUMPING SERVICES LP
PO BOX 12366
COLLEGE STATION, TX 77842                   164939                 03/06/2020              Suppliers or vendors                       $15,466.00
                                            164971                 03/13/2020              Suppliers or vendors                       $14,998.00
                                            165019                 03/20/2020              Suppliers or vendors                       $15,158.50
                                            165072                 03/27/2020              Suppliers or vendors                       $11,382.00
                                                                                                          SUBTOTAL                    $57,004.50

RAMCHARAN, JASON
ADDRESS ON FILE                             677                    03/20/2020              Suppliers or vendors                       $10,000.00
                                            787                    04/24/2020              Suppliers or vendors                       $10,000.00
                                                                                                          SUBTOTAL                    $20,000.00

RED STAR TRUCKING, LLC.
PO BOX 250                                  V002412, 4/10/2020,
MCALESTER, OK 74502                         ACHUSD                 04/10/2020              Suppliers or vendors                       $14,764.46
                                            V002412, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $14,962.13
                                            V002412, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $12,835.67
                                            V002412, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                       $15,153.81
                                                                                                          SUBTOTAL                    $57,716.07

REMSTATE, LLC
20 SOUTH 14TH ST.                           V001710, 3/6/2020,
PITTSBURGH, PA 15203                        ACHUSD                 03/06/2020              Suppliers or vendors                       $13,200.00
                                            V001710, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $4,950.00
                                            V001710, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $6,600.00
                                                                                                          SUBTOTAL                    $24,750.00




                                                                   Page 42 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 58 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
RICARDO ENRIQUEZ DBA DUBB LEE
ENERGY SERVICES
RICARDO ENRIQUEZ
2045 N. CLENDEN AVE.                        V000727, 3/6/2020,
ODESSA, TX 79763                            ACHUSD                 03/06/2020              Suppliers or vendors                         $8,091.40
                                            V000727, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $6,941.40
                                            V000727, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $5,641.40
                                                                                                          SUBTOTAL                     $20,674.20

RIG SITE RENTAL, LP
PO BOX 11330
SPRING, TX 77379                            165075                 03/27/2020              Suppliers or vendors                         $5,246.00
                                            165223                 04/17/2020              Suppliers or vendors                         $7,353.00
                                                                                                          SUBTOTAL                     $12,599.00

RIG TOOLS, INC
PO BOX 679479
DALLAS, TX 75267                            165143                 04/03/2020              Suppliers or vendors                        $20,791.55
                                            165262                 04/24/2020              Suppliers or vendors                        $20,120.85
                                            165324                 05/04/2020              Suppliers or vendors                        $20,791.55
                                                                                                          SUBTOTAL                     $61,703.95

RILEY, STEVEN J
1323 TREASURE LAKE                          V001966, 3/6/2020,
DU BOIS, PA 15801                           ACHUSD                 03/06/2020              Suppliers or vendors                         $5,400.00
                                            V001966, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $2,800.00
                                            V001966, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $2,800.00
                                            V001966, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $8,694.50
                                            V001966, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $2,800.00
                                                                                                          SUBTOTAL                     $22,494.50

RJ WRIGHT AND SONS LTD
PO BOX 67
NEWCOMERSTOWN, OH 43832                     165076                 03/27/2020              Suppliers or vendors                        $30,680.45
                                            165144                 04/03/2020              Suppliers or vendors                        $31,864.37
                                            165192                 04/10/2020              Suppliers or vendors                        $31,568.11
                                            165225                 04/17/2020              Suppliers or vendors                        $46,494.34
                                            165263                 04/24/2020              Suppliers or vendors                        $14,948.43
                                            165325                 05/04/2020              Suppliers or vendors                        $14,959.46
                                                                                                          SUBTOTAL                    $170,515.16

ROCKY FIELDS, LLC
3010 NW 149TH STREET
SUITE 100                                   V001767, 3/6/2020,
OKLAHOMA CITY, OK 73134                     ACHUSD                 03/06/2020              Suppliers or vendors                         $8,000.00
                                                                                                          SUBTOTAL                      $8,000.00


                                                                   Page 43 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 59 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
ROYAL LOGISTICS
C/O CORNERSTONE FUNDING
24 SMITH ROAD                               V001787, 3/6/2020,
MIDLAND, TX 79705                           ACHUSD                 03/06/2020              Suppliers or vendors                        $30,210.00
                                            V001787, 3/11/2020,
                                            ACHUSD                 03/11/2020              Suppliers or vendors                        $57,125.00
                                            V001787, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $55,615.00
                                            V001787, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $54,815.00
                                            V001787, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $49,025.00
                                            V001787, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $53,310.00
                                            V001787, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $53,304.65
                                            V001787, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $49,830.00
                                            V001787, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $53,790.00
                                                                                                           SUBTOTAL                   $457,024.65

RREF III-P 410 17 ST, LLC.
999 BAKER WAY
STE. 200                                    V002514, 3/6/2020,
SAN MATEO, CA 94404                         ACHUSD                 03/06/2020              Suppliers or vendors                        $11,791.50
                                                                                                           SUBTOTAL                    $11,791.50

RUSCO OPERATING LLC
98 SAN JACINTO BLVD, STE 550                V001795, 3/6/2020,
AUSTIN, TX 78701                            ACHUSD                 03/06/2020              Suppliers or vendors                        $53,825.00
                                            V001795, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $51,161.19
                                            V001795, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $48,467.39
                                            V001795, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $103,818.01
                                            V001795, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $41,862.50
                                                                                                           SUBTOTAL                   $299,134.09

RYAN SERVICING, LLC
PO BOX 803447                               V002612, 2/28/2020,
DALLAS, TX 75380-3447                       ACHUSD                 02/28/2020              Other - Taxes                              $155,640.45
                                                                                                           SUBTOTAL                   $155,640.45




                                                                   Page 44 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 60 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
S & K BRUCE ENTERPRISES, INC
212 HIGHWAY 3098                            V001806, 3/6/2020,
GEORGETOWN, LA 71432                        ACHUSD                 03/06/2020              Suppliers or vendors                         $4,624.50
                                            V001806, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $12,274.50
                                            V001806, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $9,521.20
                                            V001806, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $12,244.99
                                                                                                          SUBTOTAL                     $38,665.19

SAVAGE SWEETS, INC
4869 S. WAREHOUSE RD.                       V001825, 3/13/2020,
KEARNS, UT 84118                            ACHUSD                 03/13/2020              Suppliers or vendors                        $20,212.48
                                            V001825, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $20,000.00
                                            V001825, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $18,440.65
                                            V001825, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $26,224.52
                                            V001825, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $9,824.80
                                            V001825, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $19,953.80
                                            V001825, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,800.00
                                                                                                          SUBTOTAL                    $122,456.25

SCHOELEN, ERIC
202 GROVE AVE                               V000801, 3/20/2020,
ELK CITY, OK 73644                          ACHUSD                 03/20/2020              Suppliers or vendors                         $9,400.00
                                            V000801, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $5,250.00
                                            V000801, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,250.00
                                                                                                          SUBTOTAL                     $19,900.00




                                                                   Page 45 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 61 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
SHELL CHEMICAL
PO BOX 7247-6189
PHILADELPHIA, PA 19170                      588                    02/28/2020              Suppliers or vendors                        $53,417.45
                                            V001861, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $17,883.41
                                            656                    03/16/2020              Suppliers or vendors                       $210,211.18
                                            V001861, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $54,423.10
                                            V001861, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $18,390.57
                                            V001861, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $17,750.39
                                            V001861, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $53,708.44
                                            V001861, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $53,766.63
                                                                                                          SUBTOTAL                    $479,551.17

SHRIEVE CHEMICAL PRODUCTS, INC
1755 WOODSTEAD COURT
SPRING, TX 77380                            165226                 04/17/2020              Suppliers or vendors                        $21,752.56
                                            165327                 05/04/2020              Suppliers or vendors                        $43,169.84
                                                                                                          SUBTOTAL                     $64,922.40

SIGNATURE PLACE INVESTMENTS
5909 NW EXPRESSWAY G130                     V001873, 3/6/2020,
OKLAHOMA CITY, OK 73132                     ACHUSD                 03/06/2020              Suppliers or vendors                         $8,349.81
                                                                                                          SUBTOTAL                      $8,349.81

SILVERBACK TRANSPORT
400 W. ILLINOIS, STE 100                    V001875, 3/13/2020,
MIDLAND, TX 79701                           ACHUSD                 03/13/2020              Suppliers or vendors                        $40,106.60
                                            V001875, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $15,201.68
                                            V001875, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $15,267.25
                                            V001875, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $15,097.81
                                            V001875, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $15,121.15
                                            V001875, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $8,410.97
                                                                                                          SUBTOTAL                    $109,205.46




                                                                   Page 46 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 62 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
SLAYER SERVICES, LLC
959 BELLE COURT                             V001885, 3/27/2020,
DICKINSON, ND 58601                         ACHUSD                 03/27/2020              Suppliers or vendors                        $8,970.00
                                            V001885, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $4,290.00
                                            V001885, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $910.00
                                            V001885, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $3,061.25
                                                                                                          SUBTOTAL                    $17,231.25

SMITH MANAGEMENT CONSULTING,
LLC
144 MENELEY RD                              V001889, 3/6/2020,
WINNIE, TX 77665                            ACHUSD                 03/06/2020              Suppliers or vendors                       $22,950.00
                                            V001889, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                       $12,150.00
                                            V001889, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $24,000.00
                                            V001889, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $3,150.00
                                            V001889, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $450.00
                                                                                                          SUBTOTAL                    $62,700.00

SOTERION ENTERPRISES
INCORPORATED
3712 WHISPER TRACE                          V001904, 3/6/2020,
SCHERTZ, TX 78108                           ACHUSD                 03/06/2020              Suppliers or vendors                        $9,024.96
                                            V001904, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $11,349.96
                                                                                                          SUBTOTAL                    $20,374.92

SOUTHERN PRIDE CONSULTING INC
291A STAR BRAXTON ROAD                      V001912, 3/20/2020,
BRAXTON, MS 39044                           ACHUSD                 03/20/2020              Suppliers or vendors                       $12,800.00
                                            V001912, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $12,000.00
                                                                                                          SUBTOTAL                    $24,800.00

SOWERWINE ENGINEERING
CONSULTING, INC.
231 HARDPAN AVE.                            V002470, 3/20/2020,
CODY, WY 82414                              ACHUSD                 03/20/2020              Suppliers or vendors                       $13,500.00
                                            V002470, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $1,500.00
                                            V002470, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $9,050.00
                                            V002470, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $1,300.00
                                                                                                          SUBTOTAL                    $25,350.00




                                                                   Page 47 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 63 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
SPENCER OGDEN, INC
1201 FANNIN STREET                          V001929, 3/6/2020,
HOUSTON, TX 77002                           ACHUSD                 03/06/2020              Suppliers or vendors                       $10,306.80
                                            V001929, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                        $8,245.44
                                            V001929, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $8,245.44
                                            V001929, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                       $10,306.80
                                                                                                          SUBTOTAL                    $37,104.48

SPENCER, CHRISTOPHER SHAWN
PO BOX 1128                                 V000461, 3/6/2020,
GREENBRIER, AR 72058                        ACHUSD                 03/06/2020              Suppliers or vendors                        $6,000.00
                                            V000461, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                       $12,000.00
                                            V000461, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $2,881.25
                                            V000461, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                       $17,425.00
                                                                                                          SUBTOTAL                    $38,306.25

STG DEVELOPMENT LLC
6001 WEST INDUSTRIAL
MIDLAND, TX 79706                           164909                 03/06/2020              Suppliers or vendors                       $34,890.78
                                                                                                          SUBTOTAL                    $34,890.78

SUNSET INDUSTRIES, INC.
2333 TAYLOR CHAPEL RD.                      V002501, 3/6/2020,
TROUT, LA 71371                             ACHUSD                 03/06/2020              Suppliers or vendors                       $11,352.59
                                            V002501, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $11,911.66
                                            V002501, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                        $6,133.02
                                            V002501, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                        $6,137.06
                                                                                                          SUBTOTAL                    $35,534.33

SUPERIOR WEIGHTING PRODUCTS, LLC
11767 KATY FREEWAY, STE 230
HOUSTON, TX 77079                616                               03/06/2020              Suppliers or vendors                       $12,304.56
                                                                                                          SUBTOTAL                    $12,304.56

SYNTHEX ORGANICS, LLC
PO BOX 98                                   V002001, 3/4/2020,
DUNCANSVILLE, PA 16635                      ACHUSD                 03/04/2020              Suppliers or vendors                       $25,465.00
                                            V002001, 3/6/2020,
                                            ACHUSD                 03/06/2020              Suppliers or vendors                       $24,420.00
                                            V002001, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                       $25,938.00
                                            V002001, 3/19/2020,
                                            ACHUSD                 03/19/2020              Suppliers or vendors                       $25,938.00
                                            V002001, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                       $38,527.50


                                                                   Page 48 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 64 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
SYNTHEX ORGANICS, LLC
PO BOX 98                                   V002001, 4/3/2020,
DUNCANSVILLE, PA 16635                      ACHUSD                 04/03/2020              Suppliers or vendors                        $24,420.00
                                            V002001, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $30,822.00
                                            V002001, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $31,652.50
                                            807                    04/30/2020              Suppliers or vendors                        $31,746.00
                                            V002001, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $20,295.00
                                            V002001, 5/8/2020,
                                            ACHUSD                 05/08/2020              Suppliers or vendors                        $31,746.00
                                            V002001, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $19,536.00
                                                                                                          SUBTOTAL                    $330,506.00

T.A.S. TRUCKING, INC
PO BOX 845
CLINTON, OK 73601                           165196                 04/10/2020              Suppliers or vendors                         $3,020.00
                                            165227                 04/17/2020              Suppliers or vendors                         $4,060.00
                                                                                                          SUBTOTAL                      $7,080.00

TDT CONSULTING LLC
PO BOX 3372                                 V002018, 3/20/2020,
BURLESON, TX 76097                          ACHUSD                 03/20/2020              Suppliers or vendors                         $8,270.00
                                                                                                          SUBTOTAL                      $8,270.00

TELLER, RORY M
PO BOX 283                                  V001777, 3/6/2020,
AZTEC, NM 87410                             ACHUSD                 03/06/2020              Suppliers or vendors                        $11,200.00
                                            V001777, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $12,000.00
                                            V001777, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $4,800.00
                                            V001777, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $6,200.00
                                                                                                          SUBTOTAL                     $34,200.00




                                                                   Page 49 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 65 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
TERRA OILFIELD SERVICES, LLC
24900 PITKIN ROAD
SUITE 200                                   WT
SPRING, TX 77386                            2020022700009740       02/27/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020030500008630       03/05/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020031200004350       03/12/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020031900005910       03/19/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020032700000070       03/27/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020040200008340       04/02/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020040900007850       04/09/2020              Other - Earnout                            $100,628.00
                                            WT
                                            2020041600008620       04/16/2020              Other - Earnout                            $100,628.00
                                                                                                          SUBTOTAL                    $805,024.00

TETRA SPECIALTY CHEMICALS
PO BOX 841185                               V002031, 3/27/2020,
DALLAS, TX 75284                            ACHUSD                 03/27/2020              Suppliers or vendors                        $44,942.87
                                            V002031, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $48,995.94
                                            V002031, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $26,762.23
                                            V002031, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $40,695.46
                                            V002031, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $14,240.34
                                                                                                          SUBTOTAL                    $175,636.84

TEXAS LIME COMPANY
PO BOX 201753
DALLAS, TX 75320                            164973                 03/13/2020              Suppliers or vendors                         $7,875.00
                                            716                    03/27/2020              Suppliers or vendors                        $51,537.50
                                            734                    04/03/2020              Suppliers or vendors                        $15,750.00
                                            748                    04/10/2020              Suppliers or vendors                         $3,937.50
                                                                                                          SUBTOTAL                     $79,100.00




                                                                   Page 50 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 66 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
TIGER CALCIUM, INC
603 15TH AVE
NISKU, AB T9E 7M6
CANADA                                      613                    03/06/2020              Suppliers or vendors                        $90,520.62
                                            641                    03/13/2020              Suppliers or vendors                        $60,366.77
                                            683                    03/20/2020              Suppliers or vendors                        $60,386.45
                                            702                    03/27/2020              Suppliers or vendors                        $44,085.83
                                            736                    04/03/2020              Suppliers or vendors                        $60,579.42
                                            750                    04/10/2020              Suppliers or vendors                        $57,210.11
                                            772                    04/17/2020              Suppliers or vendors                        $60,015.14
                                                                                                          SUBTOTAL                    $433,164.34

TIGER TRANSFER, LLC
PO BOX 255                                  V002074, 3/6/2020,
UPTON, WY 82730                             ACHUSD                 03/06/2020              Suppliers or vendors                        $10,404.60
                                            V002074, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                         $1,920.07
                                            V002074, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                          $963.03
                                            V002074, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                          $796.10
                                                                                                          SUBTOTAL                     $14,083.80

TIL CENTRIFUGE OF AMERICA, INC
1826 RANGER HWY                             V002075, 3/20/2020,
WEATHERFORD, TX 76088                       ACHUSD                 03/20/2020              Suppliers or vendors                         $9,334.37
                                            V002075, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $5,614.98
                                                                                                          SUBTOTAL                     $14,949.35

TINNERELLO CONSULTING LLC
400 L SULLIVAN ROAD                         V002085, 3/6/2020,
WINNFIELD, LA 71483                         ACHUSD                 03/06/2020              Suppliers or vendors                        $12,614.75
                                            V002085, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $13,366.68
                                            V002085, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $7,188.70
                                            V002085, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $5,399.16
                                                                                                          SUBTOTAL                     $38,569.29




                                                                   Page 51 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 67 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
TOTAL QUALITY LOGISTICS
PO BOX 634558                               V002107, 3/20/2020,
CINCINNATI, OH 45263                        ACHUSD                 03/20/2020              Suppliers or vendors                       $20,191.00
                                            V002107, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                       $11,216.00
                                            V002107, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $12,174.00
                                            V002107, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                       $12,174.00
                                            V002107, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $12,166.00
                                            V002107, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $11,633.00
                                                                                                          SUBTOTAL                    $79,554.00

TRAXY COMETALS USA, LLC
2050 CENTER AVENUE                          V002118, 5/1/2020,
FORT LEE, NJ 07024                          ACHUSD                 05/01/2020              Suppliers or vendors                       $20,262.66
                                                                                                          SUBTOTAL                    $20,262.66

TRI-FORCE PROHYDRO, LLC.
P.O. BOX 53367                              V002574, 4/10/2020,
MIDLAND, TX 79710                           ACHUSD                 04/10/2020              Suppliers or vendors                       $13,627.50
                                                                                                          SUBTOTAL                    $13,627.50

ULINE
ATTN: ACCOUNTS RECEIVABLE
PO BOX 88741
CHICAGO, IL 60680                           165200                 04/10/2020              Suppliers or vendors                        $8,649.47
                                                                                                          SUBTOTAL                     $8,649.47

UNION PACIFIC RAILROAD
PO BOX 843465
DALLAS, TX 75284                            614                    03/06/2020              Suppliers or vendors                       $13,167.00
                                            642                    03/13/2020              Suppliers or vendors                       $26,240.00
                                            V002175, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                       $24,943.00
                                                                                                          SUBTOTAL                    $64,350.00




                                                                   Page 52 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 68 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
UNITED CENTRIFUGE MFG INC
7304 30TH STREET
STE 102
CALGARY, AB T2C 1W2
CANADA                                      589                    02/28/2020              Suppliers or vendors                        $12,400.00
                                            615                    03/06/2020              Suppliers or vendors                        $15,567.53
                                            643                    03/13/2020              Suppliers or vendors                        $12,730.07
                                            703                    03/27/2020              Suppliers or vendors                        $12,000.00
                                            735                    04/03/2020              Suppliers or vendors                        $16,188.38
                                            749                    04/10/2020              Suppliers or vendors                        $29,765.54
                                            773                    04/17/2020              Suppliers or vendors                        $24,000.00
                                            799                    04/24/2020              Suppliers or vendors                         $5,867.61
                                            815                    05/01/2020              Suppliers or vendors                        $15,157.14
                                                                                                          SUBTOTAL                    $143,676.27

UNITED RENTALS (NORTH AMERICA)
INC
PO BOX 100711
ATLANTA, GA 30384                           766                    04/17/2020              Suppliers or vendors                        $20,000.00
                                                                                                          SUBTOTAL                     $20,000.00

UPSTREAM FLUID CONSULTANTS, LLC
15140 SOUTHWEST FREEWAY, STE. C             V002629, 3/6/2020,
SUGAR LAND, TX 77478                        ACHUSD                 03/06/2020              Suppliers or vendors                         $5,140.47
                                            V002629, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $4,943.75
                                            V002629, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                         $6,570.78
                                                                                                          SUBTOTAL                     $16,655.00

USA TRUCKING
5370 POISON SPIDER ROAD                     V002192, 3/6/2020,
CASPER, WY 82604                            ACHUSD                 03/06/2020              Suppliers or vendors                         $6,500.00
                                            V002192, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $4,299.10
                                                                                                          SUBTOTAL                     $10,799.10

UV LOGISTICS
PO BOX 975357                               V002196, 3/6/2020,
DALLAS, TX 75397                            ACHUSD                 03/06/2020              Suppliers or vendors                        $14,150.00
                                            V002196, 3/13/2020,
                                            ACHUSD                 03/13/2020              Suppliers or vendors                        $18,225.00
                                            V002196, 3/19/2020,
                                            ACHUSD                 03/19/2020              Suppliers or vendors                        $34,725.00
                                            V002196, 3/27/2020,
                                            ACHUSD                 03/27/2020              Suppliers or vendors                        $40,375.00
                                            V002196, 4/3/2020,
                                            ACHUSD                 04/03/2020              Suppliers or vendors                        $17,500.00
                                            V002196, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                        $14,825.00
                                            V002196, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                        $20,350.00


                                                                   Page 53 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 69 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
UV LOGISTICS
PO BOX 975357                               V002196, 4/24/2020,
DALLAS, TX 75397                            ACHUSD                 04/24/2020              Suppliers or vendors                        $15,050.00
                                            V002196, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                        $26,025.00
                                            V002196, 5/18/2020,
                                            ACHUSD                 05/18/2020              Suppliers or vendors                        $16,950.00
                                                                                                          SUBTOTAL                    $218,175.00

VERIZON WIRELESS
PO BOX 660108
DALLAS, TX 75266                            165024                 03/20/2020              Suppliers or vendors                        $10,389.61
                                            165201                 04/10/2020              Suppliers or vendors                          $135.93
                                            165331                 05/04/2020              Suppliers or vendors                        $10,834.67
                                                                                                          SUBTOTAL                     $21,360.21

VERSATILE AG SYSTEMS LLC
291 COUNTY ROAD 152                         V002207, 3/6/2020,
CARPENTER, WY 82054                         ACHUSD                 03/06/2020              Suppliers or vendors                         $1,600.00
                                            V002207, 3/20/2020,
                                            ACHUSD                 03/20/2020              Suppliers or vendors                         $3,662.65
                                            V002207, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $8,573.25
                                            V002207, 5/1/2020,
                                            ACHUSD                 05/01/2020              Suppliers or vendors                         $4,130.10
                                                                                                          SUBTOTAL                     $17,966.00

VIKING TRANSPORT, LLC
PO BOX 219                                  V002210, 4/3/2020,
NEW SUMMERFIELD, TX 75780                   ACHUSD                 04/03/2020              Suppliers or vendors                         $4,917.00
                                            V002210, 4/10/2020,
                                            ACHUSD                 04/10/2020              Suppliers or vendors                         $6,545.50
                                            V002210, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $4,994.00
                                                                                                          SUBTOTAL                     $16,456.50

WALTNER, WILLIAM P
310 158TH AVENUE NW                         V002292, 4/3/2020,
SIDNEY, MT 59270                            ACHUSD                 04/03/2020              Suppliers or vendors                         $6,750.00
                                            V002292, 5/11/2020,
                                            ACHUSD                 05/11/2020              Suppliers or vendors                         $9,100.00
                                                                                                          SUBTOTAL                     $15,850.00

WEBSTER PARISH
GARY S SEXTON, TAX COLLECTOR
PO BOX 877
MINDEN, LA 71058                            165151                 04/03/2020              Suppliers or vendors                        $39,709.35
                                            165270                 04/29/2020              Suppliers or vendors                         $3,138.02
                                                                                                          SUBTOTAL                     $42,847.37




                                                                   Page 54 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 70 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                            Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 2, Question 3: Certain payments or transfers to creditors within 90 days before filing this case



                                            Check or Wire
Creditor Name & Address                                             Payment Date            Reason For Payment          Amount Paid
                                            Number
WEGO CHEMICAL & MINERAL
239 GREAT NECK ROAD
GREAT NECK, NY 11021                        165152                 04/03/2020              Suppliers or vendors                       $23,520.00
                                            165203                 04/10/2020              Suppliers or vendors                       $20,000.00
                                            V002244, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                       $20,000.00
                                                                                                          SUBTOTAL                    $63,520.00

WELLS FARGO RAIL CORP
PO BOX 60546
CHARLOTTE, NC 28260                         164914                 03/06/2020              Suppliers or vendors                       $19,580.00
                                                                                                          SUBTOTAL                    $19,580.00

WEST SUN TEX, LLC
PO BOX 1662
PECOS, TX 79772                             165090                 03/27/2020              Suppliers or vendors                        $6,506.41
                                            165205                 04/10/2020              Suppliers or vendors                        $3,803.82
                                            V002254, 4/17/2020,
                                            ACHUSD                 04/17/2020              Suppliers or vendors                         $856.73
                                            V002254, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                         $797.81
                                                                                                          SUBTOTAL                    $11,964.77

WILLIAM BUCKLEY LIGHTFOOT DBA
BOOGIE TRUCKING LLC
332469 E 780 RD                             V002624, 4/17/2020,
PERKINS, OK 74059                           ACHUSD                 04/17/2020              Suppliers or vendors                       $11,750.00
                                                                                                          SUBTOTAL                    $11,750.00

WILLIAM HOLLAND DBA BILLY JACK
O'TOOLE, LLC.
165 SALDANA DR.                             V002451, 3/20/2020,
CEDAR CREEK, TX 78612                       ACHUSD                 03/20/2020              Suppliers or vendors                       $12,000.00
                                            V002451, 4/24/2020,
                                            ACHUSD                 04/24/2020              Suppliers or vendors                       $12,000.00
                                                                                                          SUBTOTAL                    $24,000.00

                                                                                                      GRAND TOTAL                 $54,857,509.75




                                                                   Page 55 of 55
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 71 of 96


Debtor Name:         Anchor Drilling Fluids USA, LLC                                                   Case Number:              6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

         Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider




Insider's name and address        Relationship to debtor           Total amount or value     Dates                        Reasons for payment or
                                                                                                                          transfer
ARETE CAPITAL PARTNERS,          Chief Financial Officer                       $ 75,000.00 05/07/2020                     Fees
LLC (ERIC GLOVER)
5775 MOUNTAIN RANCH DR.
PARK CITY, UT 84098
ATERA CAPITAL LLC (GRANT         Chief Restructuring Officer                   $ 10,000.00 02/11/2020                     Fees
LYON)
9821 BUCKHEAD CT
WINDERMERE, FL 34786
ATERA CAPITAL LLC (GRANT         Chief Restructuring Officer                   $ 10,000.00 03/27/2020                     Fees
LYON)
9821 BUCKHEAD CT
WINDERMERE, FL 34786
ATERA CAPITAL LLC (GRANT         Chief Restructuring Officer                   $ 10,000.00 05/01/2020                     Fees
LYON)
9821 BUCKHEAD CT
WINDERMERE, FL 34786
ATERA CAPITAL LLC (GRANT         Chief Restructuring Officer                   $ 25,000.00 05/07/2020                     Fees
LYON)
9821 BUCKHEAD CT
WINDERMERE, FL 34786
CENTRAL PROCUREMENT INC. Affiliate                                            $ 155,620.82 05/22/2020                     Fixed Assets
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                               $ 8,582.40 06/28/2019                    Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 14,565.00 11/30/2019                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                            $ 119,248.00 03/26/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 56,608.00 04/01/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 45,008.00 04/08/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                               $ 9,372.80 04/09/2020                    Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 57,350.40 04/14/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 61,826.81 04/21/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 42,049.11 04/22/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                             $ 52,195.93 04/27/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079




                                                               Page 1 of 4
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 72 of 96


Debtor Name:         Anchor Drilling Fluids USA, LLC                                                   Case Number:             6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

         Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider




Insider's name and address        Relationship to debtor           Total amount or value     Dates                        Reasons for payment or
                                                                                                                          transfer
CENTRAL PROCUREMENT INC. Affiliate                                             $ 36,459.76 04/28/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
CENTRAL PROCUREMENT INC. Affiliate                                            $ 100,006.37 05/05/2020                     Inventory
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
QMAX MEXICO, S.A. DE C.V.        Affiliate                                    $ 316,998.90 07/31/2019                     Fixed Assets
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX MEXICO, S.A. DE C.V.        Affiliate                                     $ 66,868.76 12/05/2019                     Inventory
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX MEXICO, S.A. DE C.V.        Affiliate                                     $ 47,894.60 05/14/2020                     Inventory
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX MEXICO, S.A. DE C.V.        Affiliate                                     $ 56,774.62 05/15/2020                     Inventory
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX MEXICO, S.A. DE C.V.        Affiliate                                     $ 50,618.88 05/20/2020                     Inventory
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX MEXICO, S.A. DE C.V.        Affiliate                                     $ 49,564.32 05/21/2020                     Inventory
PROLONGACION 27 DE
FEBRERO NO. 3017
COL. TABASCO 2000 86035
MEXICO
QMAX SOLUTIONS COLOMBIA          Affiliate                                     $ 18,620.98 10/02/2019                     Fixed Assets
(BRANCH)
CALLE 100 NO. 8A-49 TORRE B
OFC 1018
BOGOTA
COLOMBIA
QMAX SOLUTIONS COLOMBIA          Affiliate                                    $ 165,665.76 10/14/2019                     Fixed Assets
(BRANCH)
CALLE 100 NO. 8A-49 TORRE B
OFC 1018
BOGOTA
COLOMBIA
QMAX SOLUTIONS COLOMBIA          Affiliate                                    $ 112,597.85 11/01/2019                     Fixed Assets
(BRANCH)
CALLE 100 NO. 8A-49 TORRE B
OFC 1018
BOGOTA
COLOMBIA




                                                               Page 2 of 4
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 73 of 96


Debtor Name:         Anchor Drilling Fluids USA, LLC                                                   Case Number:              6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

         Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider




Insider's name and address        Relationship to debtor           Total amount or value     Dates                        Reasons for payment or
                                                                                                                          transfer
QMAX SOLUTIONS COLOMBIA          Affiliate                                       $ 7,672.32 09/01/2019                    Inventory
(BRANCH)
CALLE 100 NO. 8A-49 TORRE B
OFC 1018
BOGOTA
COLOMBIA
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 1,000,000.00 02/11/2019                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 2,547,190.00 05/01/2019                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                    $ 599,940.00 06/17/2019                     Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                    $ 299,970.00 06/19/2019                     Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 8,924,478.29 06/30/2019                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 3,200,459.47 08/31/2019                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 1,500,000.00 12/31/2019                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
Q’MAX SOLUTIONS INC.             Affiliate                                   $ 1,100,000.00 01/17/2020                    Cash
11700 KATY FREEWAY, SUITE
200
HOUSTON, TX 77079
TRI-MAX SOLUTIONS LIMITED Affiliate                                            $ 43,229.21 09/25/2019                     Fixed Assets
#7 PHOENIX PARK ROAD WEST
POINT LISA
TRINIDAD & TOBAGO
TRI-MAX SOLUTIONS LIMITED Affiliate                                           $ 229,492.43 11/01/2019                     Fixed Assets
#7 PHOENIX PARK ROAD WEST
POINT LISA
TRINIDAD & TOBAGO
TRI-MAX SOLUTIONS LIMITED Affiliate                                            $ 29,695.46 12/26/2019                     Fixed Assets
#7 PHOENIX PARK ROAD WEST
POINT LISA
TRINIDAD & TOBAGO
TRI-MAX SOLUTIONS LIMITED Affiliate                                           $ 357,341.09 07/30/2019                     Inventory
#7 PHOENIX PARK ROAD WEST
POINT LISA
TRINIDAD & TOBAGO




                                                               Page 3 of 4
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 74 of 96


Debtor Name:         Anchor Drilling Fluids USA, LLC                                                   Case Number:             6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

         Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider




Insider's name and address        Relationship to debtor           Total amount or value     Dates                        Reasons for payment or
                                                                                                                          transfer
TRI-MAX SOLUTIONS LIMITED Affiliate                                            $ 96,755.60 10/01/2019                     Inventory
#7 PHOENIX PARK ROAD WEST
POINT LISA
TRINIDAD & TOBAGO




                                                               Page 4 of 4
                  Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 75 of 96


Debtor Name:            Anchor Drilling Fluids USA, LLC                                                  Case Number:            6:20-bk-60030

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

             Part 3, Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits




Case Title                          Case Number                      Nature of case             Court or agency’s name     Status Of Case
                                                                                                and address
2017 Internal Revenue Service       N/A                              The 2017 Internal          INTERNAL REVENUE           Pending
Tax Audit of Central Procurement                                     Revenue Service Tax        SERVICE
Inc.                                                                 Audit of Central           1919 SMITH STREET
                                                                     Procurement Inc. The       MAIL STOP (MS): 4397-
                                                                     Debtor is potentially a    HOU
                                                                     party to this audit as     HOUSTON, TX 77002
                                                                     they are included in the
                                                                     consolidated income tax
                                                                     return of Central
                                                                     Procurement Inc
Emily Doucet v. Zurich American     Civil No. C-191939B              Tort                       27TH JUDICIAL DISTRICT Pending
Insurance Company, Anchor                                                                       COURT, PARISH OF ST.
Drilling Fluids USA, LLC, Kevin                                                                 LANDRY, LOUISIANA
McPhearson and State Farm                                                                       118 S COURT ST #207
Mutual Auto Insurance Company                                                                   OPELOUSAS, LA 70570
Kapolka v. Anchor Drilling Fluids   Civil Action No. 2:18-cv-10007   Labor & Employment /       UNITED STATES        Pending
USA, LLC and Q’MAX America,                                          FLSA Claim                 DISTRICT COURT FOR
Inc.                                                                                            THE WESTERN DISTRICT
                                                                                                OF PENNSYLVANIA –
                                                                                                PITTSBURGH DIVISION
                                                                                                700 GRANT STREET
                                                                                                PITTSBURGH, PA 15219
Todd and Courtney Waldrip ,      Cause No: 2019-0016M-CV             Tort                       97TH JUDICIAL DISTRICT Concluded
individually, and as                                                                            COURT, MOTAGUE
representatives of the Estate of                                                                COUNTY, TEXAS
Madison Nicole Waldrip v. Anchor                                                                101 E. FRANKLIN ST.
Drilling Fluids USA, LLC and                                                                    MONTAGUE, TX 76251
Robert Edward Womack




                                                                  Page 1 of 1
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 76 of 96


Debtor Name:           Anchor Drilling Fluids USA, LLC                                                       Case Number:             6:20-bk-60030

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

 Part 4, Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
                                                    value of the gifts to that recipient is less than $1,000



Creditor's Name & Address            Recipients relationship to        Description of the         Dates given                   Value
                                     debtor                            gifts or contributions
VISION DEMOCRATICA                  N/A                               Cash                        05/28/2019                                     $2,000.00
6171 MCLENDON COURT
ALEXANDRIA, VA 22310




                                                                   Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 77 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                                Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                       Part 5, Question 10: All losses from fire, theft, or other casualty within 1 year before filing this case



Description of property lost and how the        Amount of payments received for
                                                                                        Date of loss                     Value of property lost
loss occurred                                   the loss
Automobile Damage                                                        $ 19,669.00 05/31/2019                                            $ 60,774.43

Automobile Damage                                                              $ 0.00 06/23/2019                                            $ 8,543.00

Automobile Damage                                                              $ 0.00 12/11/2019                                           $ 57,076.57

Automobile Damage                                                              $ 0.00 01/15/2020                                            $ 1,556.56

Automobile Damage                                                              $ 0.00 04/09/2020                                           $ 35,550.10




                                                                      Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 78 of 96


Debtor Name:          Anchor Drilling Fluids USA, LLC                                                 Case Number:    6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                              Part 6, Question 11: Payments related to bankruptcy




Creditor's Name and       Email or website address Who made the              If not money           Dates            Total amount or
Address                                            payment if not            describe any                            value
                                                   debtor?                   property transferred
ALVAREZ & MARSAL         alvarezandmarsal.com           Q'MAX America,                              05/08/2020               $460,000.00
NORTH AMERICA, LLC                                      Inc.
600 MADISON AVE.
8TH FLOOR
NEW YORK, NY 10022
ALVAREZ & MARSAL         alvarezandmarsal.com           Q'MAX America,                              05/15/2020               $175,000.00
NORTH AMERICA, LLC                                      Inc.
600 MADISON AVE.
8TH FLOOR
NEW YORK, NY 10022
CR3 PARTNERS             cr3partners.com                N/A                                         05/22/2020               $100,000.00
450 LEXINGTON
AVENUE
4TH FLOOR
NEW YORK, NY 10017
HAYNES & BOONE LLP haynesboone.com                      Q'MAX America,                              05/14/2020                $50,000.00
2323 VICTORY AVENUE                                     Inc.
SUITE 700
DALLAS, TX 75219
HAYNES & BOONE LLP haynesboone.com                      Q'MAX America,                              05/15/2020                $50,000.00
2323 VICTORY AVENUE                                     Inc.
SUITE 700
DALLAS, TX 75219
HAYNES & BOONE LLP haynesboone.com                      Q'MAX America,                              05/22/2020               $170,000.00
2323 VICTORY AVENUE                                     Inc.
SUITE 700
DALLAS, TX 75219
NORTON ROSE              nortonrosefulbright.com        Q'MAX America,                              05/12/2020               $300,000.00
FULBRIGHT CA LLP                                        Inc.
TRUST
400 3RD STREET
AVENUE W
SUITE 3700
CALGARY, AB T2P 4H2
CANADA
PIPER SANDLER            pipersandler.com               Q'MAX America,                              05/11/2020                $25,000.00
COMPANIES                                               Inc.
22 WAVERLY PLACE
ABERDEEN, AB AB10
1XP
CANADA
PORTER HEDGES LLP        porterhedges.com               Q'MAX America,                              05/05/2020               $200,000.00
TRUST                                                   Inc.
1000 MAIN STREET
36TH FLOOR
HOUSTON, TX 77002
PORTER HEDGES LLP        porterhedges.com               Q'MAX America,                              05/15/2020                $50,000.00
TRUST                                                   Inc.
1000 MAIN STREET
36TH FLOOR
HOUSTON, TX 77002
SONORAN CAPITAL      sonorancap.com                     N/A                                         05/07/2020                $10,000.00
ADVISORS
1733 N GREENFIELD RD
MESA, AZ 85205



                                                               Page 1 of 2
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 79 of 96


Debtor Name:           Anchor Drilling Fluids USA, LLC                                                  Case Number:            6:20-bk-60030

                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                Part 6, Question 11: Payments related to bankruptcy




Creditor's Name and        Email or website address Who made the              If not money            Dates                    Total amount or
Address                                             payment if not            describe any                                     value
                                                    debtor?                   property transferred
STRETTO INC.               stretto.com                   Q'MAX America,                               05/15/2020                          $10,000.00
410 EXCHANGE                                             Inc.
SUITE 100
IRVINE, CA 92602

Amounts listed for Alvarez & Marsal North America, LLC on SOFA 11 are for distributions made by the Debtor relating to debt consolidation or
restructuring, seeking bankruptcy relief, or filing a bankruptcy case. Note, the amounts listed for Alvarez & Marsal North America, LLC on the SOFA
11 response also include non-restructuring related services such as support business transformation, cash & vendor management and day-to-day
general operations.




                                                                Page 2 of 2
                Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 80 of 96


  Debtor Name: Anchor Drilling Fluids USA, LLC                                                   Case Number: 6:20-bk-60030

                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                 Part 7, Question 14: Previous addresses




Address                                                      Dates of occupancy From                        Dates of occupancy To
1029 SOUTH Y STREET                                          Undetermined                                   07/17/2017
FORT SMITH, TX 72903
1102 AIRPORT FERNWOOD ROAD                                   11/01/2014                                     11/21/2017
MCCOMB, MS 39648
11279 PERRY HWY., STE. 505                                   01/01/2015                                     01/08/2020
WEXFORD, PA 15090
1451 INDUSTRIAL BLVD.                                        12/15/2011                                     06/23/2017
EAGLE PASS, TX 78852
1584 FM 1588                                                 06/23/2017                                     02/27/2018
EAGLE PASS, TX 78852
2020 FAIRGROUND RD., SUITE 210                               03/01/2009                                     07/10/2017
CASPER, WY 82604
232 OAKLAWN AVE.                                             01/01/2018                                     03/31/2019
WOODSFIELD, OH 43797
2431 E. 61ST STREET, SUITE 710, 250, & 220                   10/13/1999                                     10/05/2018
TULSA, OK 74136
38 JARMON TRAIL                                                                                             02/06/2019
                                                             Undetermined
DOUGLAS, WY 82633
401 NW 3RD STREET                                            09/13/2010                                     02/01/2020
KENSETT, AR 72082
450 GEARS ROAD, SUITE 125                                    05/12/2016                                     12/01/2017
HOUSTON, TX 77067
6655 S. LEWIS AVE., SUITE 300                                02/28/2018                                     11/27/2019
TULSA, OK 74136
724 BRICKWORKS DRIVE                                                                                        11/21/2017
                                                             Undetermined
LEETSDALE, PA 15056
952 LANCASTER LANE                                           03/01/2017                                     02/28/2018
DYER, IN 46311




                                                             Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 81 of 96


Debtor Name:          Anchor Drilling Fluids USA, LLC                                              Case Number:          6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                Part 10, Question 18: Closed financial accounts




Creditor's Name and       Creditor's Last 4 digits      Type of account      Date account was     Last balance before   Other type of
Address                   of account number                                  closed sold moved    closing or transfer   account description
                                                                             or transferred
CADENCE BANK             0224                           Checking             05/30/2019                           $0.00 N/A
1349 WEST
PEACHTREE STREET
SUITE 100
ATLANTA, GA 30309
COMMERCE BANK            6748                           Checking             05/20/2020                           $0.00 N/A
1000 WALNUT STREET
KANSAS CITY, MO
64106
COMMERCE BANK            6755                           Checking             05/20/2020                           $0.00 N/A
1000 WALNUT STREET
KANSAS CITY, MO
64106




                                                               Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 82 of 96


Debtor Name:       Anchor Drilling Fluids USA, LLC                                              Case Number:         6:20-bk-60030

                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                               Part 10, Question 20: Off-premises storage




Facility Name & Address        Name of anyone with access Address                     Description of the       Does debtor still have
                               to it                                                  contents                 it?
5137 CUBESMART TX              Linda Richey and Demi          1315 WEST SAM           Miscellaneous Business   Yes
HOUSTON - BRITTMOORE           Zimmerman, Anchor Drilling     HOUSTON PARKWAY         Records
ROAD                           Fluids USA, LLC                N., SUITE 180
1050 BRITTMOORE RD                                            HOUSTON, TX 77043
HOUSTON, TX 77043
KEYPORT SELF STORAGE           Gwen Gurnsey, Anchor Drilling 7335 S LEWIS, SUITE      Miscellaneous Business   Yes
6530 S LEWIS AVE.              Fluids USA, LLC               209                      Records
TULSA, OK 74136                                              TULSA, OK 74136




                                                            Page 1 of 1
                Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 83 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                               Case Number: 6:20-bk-60030

                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Part 12, Question 23: Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation
                                                           of an environmental law?


                                                 Governmental unit name and             Environmental law if
Site name and address                                                                                                   Date of notice
                                                 address                                known
ANCHOR DRILLING FLUIDS THREE RIVERS             TEXAS COMMISSION ON                    30 TAC Chapter 106.261(a)       01/15/2019
TX                                              ENVIRONMENTAL AIR QUALITY              (7)(B); 30 TAC Chapter
3067 S HIGHWAY 37 ACCESS                        TCEQ REGION 14                         106.262(a)(3); 5C THSC
THREE RIVERS, TX 78071                          NRC BLDG., SUITE 1200                  Chapter 382.085(b)
                                                6300 OCEAN DRIVE, UNIT 5839
                                                CORPUS CHRISTI, TX 78412-5839
ANCHOR DRILLING FLUIDS USA PECOS                TEXAS COMMISSION ON                    30 TAC Chapter 116.110          06/12/2018
FACILITY                                        ENVIRONMENTAL AIR QUALITY
2111 W 3RD STREET                               P.O. BOX 13087
PECOS, TX 79772                                 AUSTIN, TX 78711-3087




                                                                       Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 84 of 96


Debtor Name:       Anchor Drilling Fluids USA, LLC                                                Case Number:          6:20-bk-60030

                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                           Part 13, Question 25: Other businesses in which the debtor has or has had an interest




Business Name & Address        Describe the nature of the      Employer                 Date business existed      Date business existed
                               business                        identification number    From                       To
ADF SPV, LLC                   Special Purpose Entity          XX-XXXXXXX               06/05/2018                 09/18/2019
251 LITTLE FALLS DRIVE
WILMINGTON, DE 19808
C&A GRINDING, L.L.C.        Joint Venture                      N/A                      11/03/2011                 Present
49 JACKSON LAKE RD. SUITE O
CHATSWORTH, GA 30735




                                                            Page 1 of 1
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 85 of 96


  Debtor Name: Anchor Drilling Fluids USA, LLC                                                         Case Number: 6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

 Part 13, Question 26a: List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.




Name & Address                                                   Dates of service From                          Dates of service To
COE, BRIAN                                                       01/06/2020                                    Petition Date
ADDRESS ON FILE
GLOVER, ERIC                                                     05/01/2020                                    Petition Date
ADDRESS ON FILE
HARRIS, LAURA                                                    05/21/2018                                    01/17/2020
ADDRESS ON FILE
HICKS, SAMANTHA                                                  08/01/2019                                    Petition Date
ADDRESS ON FILE
HLINICKY, DAVID                                                  05/07/2001                                    01/13/2020
ADDRESS ON FILE
HOLMAN, DAWYA                                                    02/12/2018                                    07/15/2019
ADDRESS ON FILE
HOLT, ALBERT CHRIS                                               08/10/2015                                    08/15/2019
ADDRESS ON FILE
HUBBARTH, VICKIE                                                 10/04/1996                                    08/15/2019
ADDRESS ON FILE
RADHAKRISHNAN, KRIS                                              08/12/2019                                    05/08/2020
ADDRESS ON FILE
RICHEY, LINDA                                                    07/01/2019                                    Petition Date
ADDRESS ON FILE
SAMUELL-BASTON, MICHAEL                                          08/01/2019                                    Petition Date
ADDRESS ON FILE
THOMPSON, PAMELA                                                 08/01/2019                                    Petition Date
ADDRESS ON FILE




                                                                  Page 1 of 1
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 86 of 96


  Debtor Name: Anchor Drilling Fluids USA, LLC                                                         Case Number: 6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

 Part 13, Question 26b: List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a
                                                financial statement within 2 years before filing this case.



Name & Address                                                   Dates of service From                          Dates of service To
PRICEWATERHOUSECOOPERS LLP                                      05/24/2018                                     Present
PO BOX 952282
DALLAS, TX 75395-2282
RSM US LLP                                                      05/24/2018                                     Present
5155 PAYSPHERE CIRCLE
CHICAGO, IL 60674




                                                                 Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 87 of 96


Debtor Name:         Anchor Drilling Fluids USA, LLC                                                  Case Number:             6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

     Part 13, Question 26c: Firms or individuals who were in possession of the debtor's books of account and records when this case is filed.




Name and Address                                                                   If any books of account and records are unavailable
                                                                                   explain why
COE, BRIAN                                                                         N/A
ADDRESS ON FILE
GLOVER, ERIC                                                                       N/A
ADDRESS ON FILE
HICKS, SAMANTHA                                                                    N/A
ADDRESS ON FILE
PRICEWATERHOUSECOOPERS LLP                                                         N/A
PO BOX 952282
DALLAS, TX 75395-2282
RICHEY, LINDA                                                                      N/A
ADDRESS ON FILE
RSM US LLP                                                                         N/A
5155 PAYSPHERE CIRCLE
CHICAGO, IL 60674
SAMUELL-BASTON, MICHAEL                                                            N/A
ADDRESS ON FILE
THOMPSON, PAMELA                                                                   N/A
ADDRESS ON FILE




                                                            Page 1 of 1
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 88 of 96


Debtor Name:           Anchor Drilling Fluids USA, LLC                                                     Case Number:             6:20-bk-60030

                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Part 13, Question 26d: List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
                                                a financial statement within 2 years before filing this case.



Name & Address

AFCO
PO BOX 360572
PITTSBURGH, PA 15250-6572
ENCINA BUSINESS CREDIT, LLC
ATTN: THOMAS SULLIVAN
123 N. WACKER DRIVE, SUITE 2400
CHICAGO, IL 60606
FIRST INSURANCE FUNDING CORP
PO BOX 7000
CAROL STREAM, IL 60197-7000
HSBC BANK CANADA
ATTN: SENIOR CORPORATE BANKING MANAGER
9TH FLOOR, 407-8TH AVENUE S.W.
CALGARY, AB T2P 1E5
CANADA
LOCKTON INSURANCE BROKERS INC.
444 WEST 47TH STREET
SUITE 900
KANSAS CITY, MO 64112
MARSH INC.
1166 AVENUE OF THE AMERICAS
NEW YORK, NY 10036
WELLS FARGO BANK
420 MONTGOMERY STREET
SAN FRANCISCO, CA 94104

Financial Statements provided to outside parties are typically reported on a consolidated basis, including Debtor and non-Debtor affiliate information.
Financial statements may also be shared with vendors or service providers during the ordinary course of business, but the Debtors do not maintain a
list of these parties




                                                                Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 89 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                       Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
INVENTORY ON RIGS - Various By Rig             03/31/2020                                  $ 12,209,117.71 Cost BRIAN COE
                                                                                                                1315 WEST SAM HOUSTON
                                                                                                                PKWY N
                                                                                                                SUITE 180
                                                                                                                HOUSTON, TX 77043
INVENTORY ON RIGS - Various By Rig             04/30/2020                                  $ 7,888,067.22 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID01 - Bill Greenway                       03/31/2020                                    $ 343,810.96 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID01 - Bill Greenway                       04/30/2020                                    $ 253,243.26 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID02 - Jason Crook                         03/31/2020                                    $ 865,068.63 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID02 - Jason Crook                         04/30/2020                                    $ 927,341.06 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID03 - Jessica Gilbert                     03/31/2020                                    $ 155,844.58 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID03 - Jessica Gilbert                     04/30/2020                                    $ 153,857.28 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID04 - Rob Fife                            03/31/2020                                  $ 1,859,680.24 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID05 - Jessica Gilbert                     03/31/2020                                    $ 308,597.09 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID05 - Rob Fife                            04/30/2020                                  $ 1,937,999.07 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043



                                                                   Page 1 of 6
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 90 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                      Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
WUSMID07 - Dustin Denney                       03/31/2020                                   $ 201,702.25 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSMID07 - Jessica Gilbert                     04/30/2020                                    $ (6,349.90) Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSMID08 - Dustin Denney                       04/30/2020                                    $ 47,967.66 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSMID08 - Laken Hennigh                       03/31/2020                                   $ 271,433.53 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSMID09 - Dale Chilson                        03/31/2020                                   $ 867,345.85 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSMID09 - Laken Hennigh                       04/30/2020                                   $ 271,433.53 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSNOR01 - Dale Chilson                        04/30/2020                                   $ 783,844.17 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSNOR01 - Jessica Gilbert                     03/31/2020                                  $ 2,086,070.42 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSNOR02 - Harold Willett                      03/31/2020                                  $ 1,771,171.30 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSNOR02 - Jessica Gilbert                     04/30/2020                                  $ 2,287,552.32 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSNOR03 - Ed Moyer                            03/31/2020                                   $ 814,404.39 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043



                                                                   Page 2 of 6
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 91 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                      Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
WUSNOR03 - Harold Willett                      04/30/2020                                  $ 2,327,611.72 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSNOR04 - Ed Moyer                            04/30/2020                                   $ 810,199.86 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSNOR04 - Lance Luna                          03/31/2020                                  $ 4,482,299.38 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSPER01 - Lance Luna                          04/30/2020                                  $ 5,643,069.74 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSPER01 - Robert Murray                       03/31/2020                                  $ 3,520,452.12 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSPER02 - Kae Cee Grimsley                    03/31/2020                                  $ 1,549,971.84 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSPER02 - Robert Murray                       04/30/2020                                  $ 4,953,139.59 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSPER03 - Bobbie Clonce                       03/31/2020                                    $ 26,277.40 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSPER03 - Kae Cee Grimsley                    04/30/2020                                  $ 1,545,378.84 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK01 - Bobbie Clonce                       03/31/2020                                   $ 158,921.52 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK01 - Bobbie Clonce                       04/30/2020                                    $ 27,072.18 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043



                                                                   Page 3 of 6
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 92 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                      Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
WUSROK03 - Bobbie Clonce                       03/31/2020                                     $ 4,974.93 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK03 - Bobbie Clonce                       04/30/2020                                   $ 163,867.54 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK04 - Bobbie Clonce                       03/31/2020                                   $ 340,814.75 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK04 - Bobbie Clonce                       04/30/2020                                     $ 2,359.59 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK05 - Bobbie Clonce                       04/30/2020                                   $ 276,875.84 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK05 - Karen Holmwood                      03/31/2020                                  $ 1,173,938.64 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK06 - Bobbie Clonce                       03/31/2020                                  $ 1,101,730.89 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK06 - Karen Holmwood                      04/30/2020                                  $ 1,286,985.81 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK07 - Bobbie Clonce                       04/30/2020                                  $ 1,041,610.45 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK07 - Karen Holmwood                      03/31/2020                                   $ 185,078.40 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK08 - Bobbie Clonce                       03/31/2020                                   $ 358,937.11 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043



                                                                   Page 4 of 6
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 93 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                      Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
WUSROK08 - Karen Holmwood                      04/30/2020                                   $ 186,590.40 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK09 - Bobbie Clonce                       04/30/2020                                   $ 132,924.13 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK09 - Karen Holmwood - DF                 03/31/2020                                  $ 1,458,871.32 Cost BRIAN COE
Zachary Meyer                                                                                                  1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK10 - Karen Holmwood                      03/31/2020                                   $ 296,005.73 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK10 - Karen Holmwood - DF                 04/30/2020                                  $ 1,578,985.20 Cost BRIAN COE
Zachary Meyer                                                                                                  1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK11 - Bobbie Clonce                       03/31/2020                                   $ 151,387.39 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK11 - Karen Holmwood                      04/30/2020                                   $ 260,037.73 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK12 - Bobbie Clonce                       04/30/2020                                   $ 150,241.24 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK12 - Kraig Keltner                       03/31/2020                                   $ 985,272.38 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK13 - Bobbie Clonce                       03/31/2020                                    $ 69,966.49 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK13 - Kraig Keltner                       04/30/2020                                   $ 964,266.35 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043



                                                                   Page 5 of 6
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 94 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                      Case Number: 6:20-bk-60030

                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                                                       Part 13, Question 27: Inventories



                                                                                   The dollar amount and       Name and address of the
Name of the person who supervised the
                                               Date of inventory                   basis (cost market or other person who has possession
taking of the inventory
                                                                                   basis) of each inventory    of inventory records
WUSROK14 - Bobbie Clonce                       03/31/2020                                    $ 25,200.00 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK14 - Bobbie Clonce                       04/30/2020                                    $ 66,497.11 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK19 - Bobbie Clonce                       04/30/2020                                   $ 172,895.38 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK19 - Karen Holmwood                      03/31/2020                                    $ 40,833.43 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSROK21 - John Cato                           03/31/2020                                  $ 1,919,730.78 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSROK21 - Karen Holmwood                      04/30/2020                                    $ 38,705.80 Cost BRIAN COE
                                                                                                              1315 WEST SAM HOUSTON
                                                                                                              PKWY N
                                                                                                              SUITE 180
                                                                                                              HOUSTON, TX 77043
WUSSTX02 - Armando Torres - DF                 03/31/2020                                  $ 2,780,340.78 Cost BRIAN COE
Travis Richbourg - SC                                                                                          1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSSTX02 - John Cato                           04/30/2020                                  $ 1,808,061.00 Cost BRIAN COE
                                                                                                               1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043
WUSSTX04 - Armando Torres - DF                 04/30/2020                                  $ 2,764,167.38 Cost BRIAN COE
Travis Richbourg - SC                                                                                          1315 WEST SAM HOUSTON
                                                                                                               PKWY N
                                                                                                               SUITE 180
                                                                                                               HOUSTON, TX 77043




                                                                   Page 6 of 6
                 Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 95 of 96


  Debtor Name: Anchor Drilling Fluids USA, LLC                                                         Case Number: 6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

  Part 13, Question 28: Debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
                                         people in control of the debtor at the time of the filing of this case.



Name and Address                                                 Position and nature of any interest            % of interest if any
BROWN, VERONICA MORALES                                         Vice President of Supply Chain
ADDRESS ON FILE
CARTER, CELINA                                                  Secretary
ADDRESS ON FILE
DIAZ-GRANADOS, RAFAEL ANDRES                                    President
ADDRESS ON FILE
GLOVER, ERIC                                                    Chief Financial Officer
ADDRESS ON FILE
Q'MAX AMERICA, INC                                              Controlling Shareholder                                                       100%
11700 KATY FWY., SUITE 200
HOUSTON, TX 77079
RIVERA, JOCELYN R                                               Assistant Secretary
ADDRESS ON FILE




                                                                 Page 1 of 1
               Case 20-60030 Document 107 Filed in TXSB on 06/08/20 Page 96 of 96


Debtor Name: Anchor Drilling Fluids USA, LLC                                                             Case Number: 6:20-bk-60030

                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

  Part 13, Question 29: Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
                  members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


                                                                                      Period during which
                                                Position and nature of any                                            Period during which position
Name and address                                                                      position or interest was
                                                interest                                                              or interest was held To
                                                                                      held From
BILLON, BRADLEY                                Vice President of U.S.A.               11/21/2017                     03/02/2020
ADDRESS ON FILE
MANZ, STEVEN A                                 Treasurer                              11/01/2018                     08/09/2019
ADDRESS ON FILE
RADHAKRISHNAN, K G                             Sr. Vice President and Chief           08/12/2019                     05/01/2020
ADDRESS ON FILE                                Financial Officer




                                                                     Page 1 of 1
